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                                             Nos. 24-6256, 24-6274

                                                    IN THE
                                United States Court of Appeals
                                     for the Ninth Circuit

                             IN RE: GOOGLE PLAY STORE ANTITRUST LITIGATION

                                               EPIC GAMES, INC.,
                                                        Plaintiff-Appellee,
                                                      v.
                                              GOOGLE LLC, et al.,
                                                       Defendants-Appellants.

                               On Appeal from the United States District Court
                                   for the Northern District of California
                                Nos. 3:20-cv-05671-JD, 3:21-md-02981-JD
                                            Hon. James Donato

                                    APPELLANTS’ OPENING BRIEF


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                               CORPORATE DISCLOSURE STATEMENT

                    Pursuant to Federal Rule of Appellate Procedure 26.1, the undersigned

             counsel certifies the following:

                    Google LLC is a subsidiary of XXVI Holdings Inc., which is a subsidiary of

             Alphabet Inc., a publicly traded company; no publicly traded company holds more

             than 10% of Alphabet Inc.’s stock.

                    Google Payment Corp. is a subsidiary of Google LLC. Google LLC is a

             subsidiary of XXVI Holdings Inc., which is a subsidiary of Alphabet Inc., a publicly

             traded company; no publicly traded company holds more than 10% of Alphabet

             Inc.’s stock.

                    Google Commerce Ltd. is an indirect subsidiary of Google LLC. Google LLC

             is a subsidiary of XXVI Holdings Inc., which is a subsidiary of Alphabet Inc., a

             publicly traded company; no publicly traded company owns more than 10% of

             Alphabet Inc.’s stock.

                    Google Ireland Ltd. is an indirect subsidiary of Google LLC. Google LLC is

             a subsidiary of XXVI Holdings Inc., which is a subsidiary of Alphabet Inc., a

             publicly traded company; no publicly traded company owns more than 10% of

             Alphabet Inc.’s stock.




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                    Google Asia Pacific Pte. Ltd. is an indirect subsidiary of Google LLC. Google

             LLC is a subsidiary of XXVI Holdings Inc., which is a subsidiary of Alphabet Inc.,

             a publicly traded company; no publicly traded company owns more than 10% of

             Alphabet Inc.’s stock.


             Date: November 27, 2024                             /s/ Neal Kumar Katyal
                                                                 Neal Kumar Katyal




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                                              INTRODUCTION

                    This case involves an extraordinary attempt by a lone competitor to use the

             federal judiciary to restructure the day-to-day operations of Google’s app store,

             Google Play, and to unilaterally reshape markets with consequences for millions of

             non-parties. If not reversed, the injunction and the flawed liability ruling underlying

             it will directly undercut Google’s efforts to compete against Apple and the iPhone,

             a competitive dynamic that has spurred innovation and brought concrete benefits to

             consumers around the world.

                   Play operates on Google’s mobile operating system, Android, which launched

             in 2008. From the beginning, Google offered Android as an open alternative to

             Apple’s closed operating system, iOS. While Apple refuses to license iOS, Google

             makes Android available to device manufacturers for free. While Apple requires

             that downloads of apps go through its own App Store, Google empowers users to

             download apps through any store they choose or even directly from a web browser.

                   Android’s open philosophy offers users and developers wider choices but

             comes with major tradeoffs. Google has less control over the Android ecosystem,

             limiting Google’s ability to directly protect users from encountering malware and

             security threats when they download apps. Google has designed and operated Play

             to ensure that Android users have a secure, trusted environment to obtain apps and




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             in-app content, which is an essential component of consumer satisfaction with a

             mobile device and key to keeping Android as a robust competitor against Apple.

                   Today, the Play store hosts over 500,000 app developers. The plaintiff in this

             case, Epic Games, used to be one of those developers. In 2020, Epic launched its

             popular game Fortnite on the Play store. As part of that launch, Epic gained access

             to hundreds of millions of Play users globally and received all the services available

             to Play-hosted apps, including protection against malware and other malicious or

             inappropriate content, customer support services, secure payment processing,

             options for building, testing, and gathering pre-release feedback for apps, tools to

             manage updates and distribution, and game performance insights.

                   Epic was happy to reap the benefits of Play’s user base and services but

             thought that Google should distribute Epic’s apps for free, and that Apple’s App

             Store should do the same. So Epic took matters into its own hands. It embedded

             secret code in the versions of Fortnite on Play and the App Store to bypass the stores’

             billing systems, which it activated in a highly publicized campaign it called “Project

             Liberty.” Google and Apple promptly removed Fortnite from their respective stores

             for Epic’s intentional noncompliance with applicable terms of service.

                   Epic responded by filing antitrust suits against Google and Apple on the same

             day. But Epic had a major problem: Because Google and Apple compete so fiercely,

             Epic could not prevail on its antitrust claims if both companies’ app stores were in



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             the same market. So Epic tried to divide and conquer, alleging that each company

             monopolized app distribution and in-app payment markets on its own operating

             systems. In both cases, Epic sought exclusively injunctive relief.

                   Epic’s case against Apple proceeded to trial first. After a bench trial, the

             Apple court issued a comprehensive opinion finding Apple not liable for any antitrust

             violations—in large measure because the App Store competed against Play for

             gaming transactions. Epic Games, Inc. v. Apple Inc. (Apple I), 559 F. Supp. 3d 898,

             935 (N.D. Cal. 2021). This Court affirmed in relevant part. 67 F.4th 946 (9th Cir.

             2023) (Apple II).

                   This case took a different turn from Epic v. Apple at every step. The District

             Court here insisted on holding a jury trial on Epic’s injunctive-relief claims. It

             refused to treat as preclusive the finding that Apple and Google compete—even after

             this Court affirmed that finding—and allowed Epic to relitigate that question on a

             blank slate. And, when the time came to instruct the jury, the District Court omitted

             the very elements of Epic’s burden of proof on which its case against Apple

             foundered—even though this Court had already affirmed that the Apple court got the

             law right. The result of these successive legal errors was a jury verdict against

             Google for conduct that—in Epic’s words—was “very similar” to Apple’s conduct

             that a separate district judge and this Court both found lawful. Allowing inconsistent

             results across Epic’s two cases would mean that Google—which has fostered an



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             open ecosystem—would be hamstrung in its ability to compete, while Apple

             continues to press the full advantages of its entirely closed ecosystem.

                     At the remedies phase, things went from bad to worse. The Supreme Court

             has emphasized that, when remedying antitrust violations, “caution is key.” NCAA

             v. Alston, 594 U.S. 69, 106 (2021). Here, the District Court threw caution to the

             wind.     At the request of Epic—a single, self-interested competitor—the court

             adopted a sweeping, nationwide injunction fundamentally altering Google’s

             relationships with Play’s users, developers, and other partners throughout the United

             States.

                     The court imposed on Google unprecedented and legally unfounded duties to

             deal directly with competing app stores: Google must develop, build, and offer for

             three years new services and functionality designed specifically for rivals’ Android

             app stores. Google must act as a marketer for its competitors by directly distributing

             their stores through the Play store itself. Google must stock its competitors’ stores

             by making Play’s catalog of apps—built over a decade-plus of investment—appear

             in their stores. And Google must then serve as a back-end administrator for their

             stores, providing downloads to their users on demand.

                     This injunction violates foundational limits on an antitrust court’s authority.

             The Supreme Court has repeatedly instructed district courts not to appoint

             themselves as central planners overseeing product design choices. And this Court



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             has instructed that courts may not eliminate competitive advantages without finding

             a significant causal connection to anticompetitive conduct. The District Court

             dismissed this causation inquiry as irrelevant, but it plays a crucial role in antitrust

             remedies: Without it, a court could deprive a defendant of advantages derived

             largely or entirely through legitimate competition. This Court should firmly reject

             that startling expansion of antitrust liability.

                    Google also extensively explained below that the injunction would harm

             millions of users by creating new security threats and would infringe on the

             intellectual property rights of hundreds of thousands of non-party app developers,

             whose apps would suddenly appear in potentially hundreds of unknown stores with

             whom they have no relationship and through which they may have no desire to

             distribute. The District Court analyzed none of this before issuing the injunction.

                    The District Court’s eagerness to impose this injunction in Epic’s case is even

             more alarming because, before trial, Google agreed to make significant changes to

             the very conduct Epic was challenging in a settlement with all 50 States, the District

             of Columbia, and two territories acting as parens patriae. Although that settlement

             was entered into on behalf of every Android user in the country, the District Court

             opted to give preferential treatment to the wishlist of a single competitor—while

             refusing to review the States’ settlement for nearly a year (and counting). There is

             no finding that the terms of the States’ settlement do not fully redress any injury Epic



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             claims, which was rooted in the same challenged conduct. Remarkably, the District

             Court did not even analyze whether Epic had Article III standing to seek injunctive

             relief.

                       It is time for this Court to step in. The jury verdict rests on an impermissible

             foundation given the District Court’s series of independent reversible legal errors

             before and during the trial.          And the resulting injunction is independently

             unprecedented, unreasoned, and unlawful. This Court should reverse.

                                       JURISDICTIONAL STATEMENT

                       Statutory subject-matter jurisdiction exists under 28 U.S.C. §§ 1331 and 1367,

             but certain aspects of the injunction lack an Article III foundation because Epic failed

             to prove its standing to seek prospective relief. See infra pp. 87-93. After entry of

             a permanent injunction on October 7, 2024, 1-ER-3-6, Google timely appealed, 7-

             ER-1793; 8-ER-2016. Appellate jurisdiction exists under 28 U.S.C. § 1292(a)(1);

             see Hendricks v. Bank of Am., N.A., 408 F.3d 1127, 1134 (9th Cir. 2005).

                                STATEMENT OF THE ISSUES FOR REVIEW

                       1.    Whether the jury verdict finding Google liable for antitrust violations

             is legally defective because the District Court allowed Epic to relitigate preclusive

             findings from Epic v. Apple; omitted a critical aspect of Epic’s burden of proving

             that the relevant markets excluded Apple; misinstructed the jury regarding the Rule




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             of Reason framework; and insisted on holding a jury trial for claims seeking purely

             injunctive relief.

                    2.     Whether the injunction is legally defective because the District Court

             required Google to create and offer brand new services specifically for its

             competitors without finding a causal link to anticompetitive conduct; made no

             findings of fact on critical, disputed issues that were highly relevant to its decision

             to grant injunctive relief; and awarded Epic a nationwide injunction without finding

             that Epic had Article III standing to seek such relief.

                                  STATUTORY PROVISIONS INVOLVED

                    Relevant statutory provisions are reprinted in the addendum to this brief.

                                       STATEMENT OF THE CASE

             I.     Factual Background

                    A.     Google Develops Android As An Open Alternative To Compete
                           Against Apple.

                    Google and Apple have long been locked in fierce competition over mobile

             devices and operating systems, including competing to ensure their consumers have

             access to the apps they want on those devices. In 2008, Google launched its Android

             mobile operating system. 5-ER-1061. Google believed the future of smart devices

             required an operating system that was not only powerful, but also “open and could

             help inspire innovation.” 6-ER-1302. It made Android publicly available and free

             for anyone to access, modify, and distribute. 5-ER-1060. Android’s open system


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             has spurred innovation: Android phones were the first to feature innovations like

             large screen displays, waterproofing, and wireless chargers. 5-ER-1064. Android

             phones are also available for every budget, starting with $50 models. 5-ER-1065-

             66.

                   Apple has taken a very different approach. Its mobile operating system,

             known as “iOS,” is a “walled garden”—a self-contained ecosystem that gives Apple

             complete control over every aspect of its devices. 5-ER-1082-84; 5-ER-1154-55.

             Apple does not license iOS to any other original equipment manufacturer (OEM),

             and its iPhones and iPads are among the higher price options for consumers.

                   Google and Apple each realized early on that a high-quality app store would

             be critical to competing in the emerging market for mobile devices. 5-ER-1078; 6-

             ER-1370-71. Google’s first store, Android Market, was “very basic” and “didn’t

             stack up well” against Apple’s App Store. 6-ER-1309-11. As a result, many users

             chose iPhones over Android, prompting Google to re-invest in and relaunch its store

             as Google Play. Id.

                   Today, the different philosophies that Google and Apple bring to their

             operating systems are reflected in the two companies’ competing approaches to app

             stores. Consistent with Android’s open ecosystem, Google allows Android’s OEMs

             and mobile carriers to pre-install third-party app stores on Android devices. For

             example, Samsung, the largest Android OEM, operates the Galaxy Store, which it



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             preinstalls on the home screen of all of its devices. 5-ER-1010. Through a process

             called “sideloading,” Android users can also download apps, app stores, and other

             content directly from the internet. 5-ER-983. Apple, by contrast, has a single

             proprietary store for all its devices, the App Store, and has not permitted sideloading

             or rival app stores on iOS.

                   To stay competitive, Google has invested tens of billions of dollars to make

             the Play store safe, accessible, and reliable. 7-ER-1639; see also 6-ER-1241-42; 6-

             ER-1256; 5-ER-1097. But Apple’s closed system gives it certain competitive

             advantages. See 6-ER-1369-71. Apple exercises full control over user security:

             Users can download apps only from Apple’s App Store and cannot sideload apps.

             5-ER-1082-83. Apple decides which apps are preloaded on every iPhone, ensuring

             that users have access to certain apps right out of the box and allowing Apple to

             promote its own apps (like Apple Maps and Apple News). See 5-ER-1073-74.

             Apple’s requirement to use the App Store also reduces the investment required from

             developers because they only need to create one version of their app across all

             iPhones. See 5-ER-1069. To compete, Google also reviews all apps on Play for

             malware before they are published and strictly enforces privacy, security, and

             content policies. 5-ER-1138-50; 5-ER-1233. And to ensure users can securely enjoy

             Android’s greater flexibility, Google uses security warnings to notify users of the




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             risk when users choose to download content from an online source outside Google’s

             control. 5-ER-1010.

                   Google’s in-app payment solution, Google Play Billing, gives users a safe and

             secure way to purchase digital goods and provides developers with a range of

             payment, billing, and security features. 6-ER-1393-1401. Ninety-seven percent of

             developers offer only free apps on Play, 5-ER-1096; those developers pay only a

             $25 registration fee, 6-ER-1405. For apps that charge users, Google generally

             collects a 15-30% fee for sales of digital goods, which pays for the significant range

             of services that Play provides from pre-release development through improving

             performance and user engagement. 6-ER-1404. This is the same general fee Apple

             collects for in-app purchases in the App Store. 6-ER-1274. Android’s business

             model enables Google to provide Play’s services for all apps, and encourages the

             availability of free apps that help make Android more attractive and drive traffic to

             the entire Android ecosystem. 5-ER-1173; 6-ER-1296.

                   Consistent with its open approach, Google encourages other manufacturers

             and carriers to use Android. That means that Google had to negotiate with many

             parties to forge a thriving ecosystem on Android and minimize app compatibility

             issues across devices. Google’s contractual agreements and incentives help ensure

             that apps are compatible on all Android devices, that users receive the latest security

             updates for the Android software, and that all Android devices come equipped with



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             a set of high quality apps offering essential functionality as well as at least one

             trusted app store: Play. See infra pp. 19-20 (describing these contracts in detail).

             But, unlike Apple and its App Store, Google has never required any OEM or carrier

             to feature Play as the exclusive pre-installed app store on any Android device as a

             condition of using Android. As of 2021, over 65% of Android devices arrived with

             both Play and an alternative app store pre-installed. 7-ER-1640.

                   B.     Epic Games Seeks To Gain Billions Through A “Highly
                          Choreographed Attack on Apple and Google.”

                   Epic Games is a billion-dollar gaming app developer and operator of a

             competing app store. 5-ER-1182; 5-ER-975; 5-ER-1199.

                   Epic created a mobile version of its popular game Fortnite that it wanted to

             distribute to users who download apps through Google Play and the Apple App

             Store. 5-ER-1183; 5-ER-1201. Like other digital platforms where Epic distributes

             its games—including Microsoft’s Xbox, Sony’s Playstation, and Nintendo’s

             Switch—the Play store and Apple’s App Store at the time collected a 30% service

             fee on digital gaming transactions like those in Epic’s games. 5-ER-1195-97. Epic

             wanted access to users through Play and the App Store without paying that service

             fee to either Google or Apple. 5-ER-1169; 5-ER-1171-72; 5-ER-1214-16. Google,

             like Apple, refused Epic’s requests.

                   In response, Epic launched a “highly choreographed attack on Apple and

             Google,” dubbed “Project Liberty,” seeking to impose “systematic change[s]” on


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             each company that would result in “tremendous monetary gain and wealth” for Epic.

             Apple I, 559 F. Supp. 3d at 9351; see also 5-ER-1216.

                   Epic misled Google in 2020 by claiming it would launch Fortnite on Play in

             compliance with Play’s policies. 5-ER-987-88; 5-ER-1178-81. At Epic’s request

             (and at no additional cost to Epic), Google provided Epic “24-hour support” to

             expedite the process. 6-ER-1346-48. Shortly after Fortnite’s successful launch,

             Epic released a secret code circumventing Play’s payment policies. 5-ER-985-986;

             5-ER-991-992; 5-ER-1203-08. Epic executed the same scheme against Apple. 5-

             ER-1213. Each company removed Fortnite after learning that Epic violated the

             store’s terms of service. 5-ER-991; 6-ER-1288.

             II.   Procedural Background

                   Epic responded to the removal of Fortnite by filing two parallel lawsuits on

             the same day in the Northern District of California—one against Google and one

             against Apple—raising claims under the Sherman Act, the California Cartwright

             Act, and California’s Unfair Competition Law (UCL). Apple I, 559 F. Supp. 3d at

             921-922, 940; 7-ER-1728. These lawsuits were accompanied by an extensive (and

             expensive) public relations campaign designed to portray Epic as “sympathetic” and




             1
              Judge Gonzalez Rogers made detailed findings regarding Project Liberty. See
             Apple I, 559 F. Supp. 3d at 935-941.

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             to mask that Epic was trying to avoid compensating Google and Apple for future

             services. 6-ER-1325-37. In each case, Epic sought purely injunctive relief.

                   Epic filed separate suits because it needed to isolate the two competitors from

             each other by asserting they were not in the same product market. If both companies

             were in the relevant market, each company’s market share would be significantly

             lower, undercutting Epic’s antitrust claims. See Apple I, 559 F. Supp. 3d at 988-999,

             1029. Epic’s case against Apple thus alleged markets for app distribution and in-

             app purchases that excluded Google, and its case against Google alleged the same

             markets but excluded Apple. Apple II, 67 F.4th at 970; 4-ER-928-929. Epic has

             never claimed that Google has monopoly power if Apple is included in the relevant

             markets.

                   A.     Epic’s Lawsuit Against Apple

                   In its case against Apple, Epic challenged a variety of alleged restraints

             including tying between the iOS app distribution platform and in-app payment

             processing system, Apple I, 559 F. Supp. 3d at 1044, and provisions prohibiting

             developers from steering users to payment options off the App Store, id. at 993. Epic

             advanced two “single-brand markets”: “iOS app distribution and iOS in-app

             payment solutions.” Apple II, 67 F.4th at 970 (emphasis omitted). According to

             Epic, Apple’s App Store competed in its own market, not with Android app stores

             like Play. See id. Apple argued against these markets, citing evidence that it actively



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             competes with Android for developers and users. See, e.g., Apple I, No. 4:20-cv-

             5640-YGR (N.D. Cal.) (“Apple I Docket”), Dkt. 410 at 55 ¶ 229, 56 ¶¶ 235-238, 81

             ¶¶ 334-335. Because Epic sought only injunctive relief, the district court held a

             bench trial. Apple II, 67 F.4th at 969-970.

                   The Apple district court ruled against Epic on each of its antitrust claims. In

             findings of fact and conclusions of law spanning 249 pages, the court rejected Epic’s

             claim that the relevant markets were Apple-only markets and explained (several

             times) that Google and Apple compete for users in a market for mobile gaming

             transactions—a market that includes mobile gaming apps and in-app purchases on

             those apps. Apple I, 559 F. Supp. 3d at 977-978; see id. at 955-956, 958-959, 976-

             977. In fact, the court found Google Play to be Apple’s “main competitor” in the

             relevant market. Id. at 922, 987, 1021 & n.580, 1023-26, 1030. The court entered

             judgment against Epic on all antitrust claims. Id. at 1068-69.2

                   Epic appealed, again arguing that Apple-only markets for “iOS app

             distribution and iOS in-app payment solutions” should apply. Apple II, 67 F.4th at

             973. This Court rejected Epic’s proposed markets, holding that the district court’s

             finding of a mobile-games transactions market “stands on appeal.” Id. at 981; see

             id. at 966, 980-981.


             2
              The court held that Apple’s anti-steering provisions violated the UCL and enjoined
             Apple from enforcing them. Apple I, 559 F. Supp. 3d at 1056. This Court affirmed.
             Apple II, 67 F.4th at 999.

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                   B.     Epic’s Lawsuit Against Google

                   Epic’s parallel suit against Google likewise asserted that Apple and Google

             do not compete in the relevant markets for app distribution and in-app purchases. 4-

             ER-928-929. Epic alleged that certain provisions of Google’s agreements with

             OEMs and app developers permitted Google to unlawfully maintain monopoly

             power and unreasonably restrained trade in both markets. 4-ER-935-948. Epic

             further alleged that Google had unlawfully tied Play to Google Play Billing. 4-ER-

             942-943; 4-ER-949-951.3

                   A putative developer class and a putative class of consumers filed suits around

             the same time raising similar antitrust and competition challenges based on Google’s

             contracts with OEMs and developers. The Judicial Panel on Multidistrict Litigation

             consolidated those cases and Epic’s into a single MDL.           See 4-ER-953-956.

             Subsequently, a group of States and another developer asserting similar claims

             joined the MDL.

                   In each of the other suits, the plaintiffs sought damages and a jury trial. The

             District Court decided and then repeatedly stressed that all antitrust claims—

             including Epic’s—would be tried together in a single trial. 4-ER-919-920; 4-ER-



             3
               Google countersued for breach of contract based on Epic’s violation of Google’s
             terms of service. Epic raised an illegality defense. After trial, Epic ultimately
             stipulated that it was liable, claiming it wanted to avoid “delay” on “the entry of a
             final judgment.” 2-ER-216-218.

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             897-898. Because Epic’s liability theories were virtually identical to these other

             plaintiffs who had demanded and were indisputably entitled to a jury for their

             damages claims, Google’s view was that all plaintiffs’ claims could be tried in a

             single combined jury trial. 4-ER-902.

                   As the trial approached, however, all of the suits besides Epic’s settled. The

             putative developer class settled with Google on May 25, 2022, 4-ER-915, and the

             States and putative consumer class settled on October 12, 2023, 4-ER-865. On

             October 12, 2023, Google notified the Court that if Google and the remaining

             developer (Match) reached a settlement, “there is no jury.” 4-ER-862-863. Google

             and Match then settled on October 31, 2023, see 4-ER-859, leaving only Epic’s

             injunctive-relief claims against Google. The next day, Google filed a motion

             requesting a bench trial on Epic’s injunctive-only claims, the only remaining claims.

             4-ER-850-856.

                   Google also timely filed a motion in limine to preclude Epic from arguing that

             Google does not compete with Apple, citing Apple I’s market definition ruling. 4-

             ER-873-875. By then, this Court had affirmed the Apple district court’s finding that

             Google Play and the Apple App Store compete in the market for mobile gaming

             transactions as well as the judgment against Epic on its parallel antitrust claims

             against Apple. See Apple II, 67 F.4th at 973-981.




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                   The District Court denied both motions, concluding that Google had

             “consented” to a jury trial on Epic’s injunctive-relief claims in a submission filed

             jointly with all the MDL plaintiffs almost six months earlier, 1-ER-146-147, and that

             Google had improperly raised preclusion in a motion in limine instead of its

             summary judgment motion argued at the same hearing. 1-ER-158-159.4 The

             District Court also stated, without explanation, that Google had not demonstrated

             “the elements of collateral estoppel.” Id.

                   The District Court generally denied the parties’ summary judgment motions,

             with one notable exception: After Epic conceded that it was not seeking to hold

             Google liable for its policy of refusing to distribute competing app stores through

             Play, the District Court held that Google could not be liable for its refusal to deal

             directly with its competitors. 1-ER-156; see Verizon Commc’ns Inc v. Law Offices

             of Curtis V. Trinko, LLP, 540 U.S. 398, 411 (2004).

                   C.     Jury Trial

                   The District Court held a jury trial over Google’s objection. Epic’s theory at

             trial was that Google had impaired competition by other Android app stores and in-

             app billing service providers through its use of security warnings and its contracts

             with OEMs, carriers, and developers. See, e.g., 6-ER-1464-67; 6-ER-1469-72.



             4
               But see Skillsky v. Lucky Stores, Inc., 893 F.2d 1088, 1095-96 (9th Cir. 1990)
             (affirming preclusion argument raised in motion in limine).

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                   Google’s case emphasized that it competes fiercely, especially with Apple, to

             ensure Play succeeds. The jury heard testimony from developers and from Apple

             itself about the competition between Google, Apple, and their app stores. See, e.g.,

             6-ER-3072; 6-ER-1411. When either Apple or Google innovates in its app store,

             the other responds by modifying content, features, and pricing to prevent users and

             developers from switching from one platform to another. 5-ER-1003-06; 5-ER-

             1022-23; 5-ER-1107-09; 6-ER-1313-18; 6-ER-1351-57; 6-ER-1411-12. The trial

             showed that both companies use revenue from their in-app payment solutions to

             support app store innovation, 6-ER-1366-69; 6-ER-1404-07, and that app stores with

             fees under 15%—including Epic’s—were unprofitable. 5-ER-978-980; 5-ER-995.

                   The jury also heard testimony that Google’s commitment to maintaining an

             open ecosystem places Google at a disadvantage when competing with Apple

             because it means that an app created for one Android phone may be incompatible

             with another Android phone. 5-ER-1012; 5-ER-1065-66. An open system also

             creates more opportunities for users to inadvertently download malware and

             fraudulent or offensive conduct—as Apple repeatedly points out to users. 5-ER-

             1145-48; 5-ER-1152-55; see also 5-ER-1084 (testimony about Apple executives

             disparaging Android); 5-ER-1230-32 (Epic’s expert conceding that Apple marketing

             depicts Android phones as being less safe than iPhones).




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                   Undisputed evidence showed that some developers prioritize Apple’s App

             Store when launching their apps by providing preferred timing or better features.

             See 5-ER-1005-06; 5-ER-1012-19; 5-ER-1115-20; 6-ER-1355-57. And Epic’s own

             expert conceded Android’s share of the United States phone market went down 10%

             between 2016 and 2021, while Apple’s share went up the same amount. 6-ER-1259;

             see also 5-ER-1134-35.

                   Google explained how its challenged conduct and contracts help Google

             provide a strong response to this competition from Apple. Google’s Mobile App

             Distribution Agreement (MADA), 7-ER-1612-34, offered financial and licensing

             incentives for OEMs and carriers to provide a seamless “out of the box” experience

             for users, including making devices compatible with apps distributed on other

             Android devices so a single version of an app works consistently across the Android

             ecosystem. 5-ER-1071-73; 5-ER-1066-68; 5-ER-1054-55. In exchange, the MADA

             required that Play be preinstalled on a device’s home screen, but did not preclude

             preinstalling other app stores on the home screen as well. 5-ER-1076; 6-ER-1281.

                   Google’s Revenue Sharing Agreements (RSAs) offered a financial incentive

             to help ensure OEMs and carriers invested in their devices and installed periodic

             security updates to keep Android as a competitive alternative to Apple’s iOS. 5-ER-

             1058-59; 5-ER-1086. While certain RSA incentives were available only to OEMs

             or carriers who agreed to make Google Play the only preinstalled app store on a



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             device-by-device basis, they could choose not to enroll new devices in this program

             at any time, and these agreements affected only a small number of devices. 5-ER-

             1048; 6-ER-1285-86.

                   Finally, for developers who charged users for app downloads or in-app

             purchases of digital goods, Google’s Developer Distribution Agreement (DDA)

             required payment via Google Play Billing and charged a 15-30% service fee. 6-ER-

             1392; 6-ER-1404. This model attracted developers and encouraged free content that

             made Android more attractive to users in its competition against Apple. 5-ER-1096;

             5-ER-1168-69; 5-ER-1172.       Some larger developers also entered into Games

             Velocity Agreements, which financially incentivized them to launch on Play at the

             same time as on other app stores. 5-ER-1000-01; 5-ER-1165-66.

                   When Google sought to preserve its appeal rights by filing a Rule 50(a)

             motion for judgment as a matter of law, the District Court told Google that it could

             file only two pages of bullet points and have a few minutes of argument. 6-ER-

             1299-1300; 1-ER-60-70. Google’s attempt to comply with the requirements in the

             federal rules for objecting to instructional errors was met with similar hostility, as

             the court took issue with its counsel’s efforts to preserve its objections. 1-ER-115

             (“Don’t tell me what the rules say. You’re not going to waive anything.”).5


             5
              Over Google’s objection, the District Court instructed the jury that it could make
             adverse inferences about conversations Google employees may have had using
             Google’s instant messaging service, Google Chats. Google’s normal document

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                   Ultimately, the jury returned a verdict against Google on all of Epic’s antitrust

             claims. 1-ER-52-57. Departing from Apple, the jury accepted Epic’s argument that

             Apple and Google are not in competition in the relevant markets. 1-ER-52-53. The

             jury then applied its Android-only market definitions throughout the verdict. 1-ER-

             53-57. Specifically, the jury found that, in those markets, (1) Google willfully

             acquired or maintained monopoly power in violation of Section 2 of the Sherman

             Act; (2) Google unlawfully restrained trade through the DDAs, Games Velocity

             Program Agreements, MADAs, and RSAs in violation of Section 1 of the Sherman

             Act and the California Cartwright Act; (3) Google unlawfully tied the use of Play to

             Google Play Billing in violation of Section 1 of the Sherman Act and the Cartwright

             Act; and (4) that Epic “was injured” as a result of these “violation[s].” 1-ER-52-57.6

             The jury did not make any further findings. See id. Google filed a renewed motion




             retention policy stores chats for 24 hours (under a “history off” setting), 4-ER-910,
             but Google instructs employees subject to a litigation hold to avoid using Chats for
             topics relevant to the hold and to preserve Chats if they do, 4-ER-910-911; 5-ER-
             1057. Google’s litigation hold in this case applied its standard practices. 4-ER-911;
             see also 4-ER-905-907. Some Google employees did not switch their history to “on”
             after receiving the September 2020 litigation hold, 4-ER-881-891, but most of Epic’s
             case involved pre-August 2020 conduct. Yet, the instruction permitted jurors to infer
             that missing chats may have supported Epic’s claims. E.g., 6-ER-1422. Google
             disagrees strongly with the District Court’s ruling, but the Chats issue is not relevant
             to any legal argument Google makes in this appeal.
             6
              The parties have consistently treated the Sherman Act and Cartwright Act claims
             as coterminous. See 6-ER-1413-58.

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             for judgment as a matter of law or a new trial, 4-ER-784-822, which the court denied,

             1-ER-24-51.

                   D.      Remedial Proceedings

                   Because the District Court held a jury trial instead of a bench trial, the parties

             lacked specific findings of fact and conclusions of law to guide the remedial phase.

             Google requested that the parties submit legal briefing on the appropriate remedy.

             The District Court denied that request. See 8-ER-2009 (Dkt. 951); 3-ER-570.

             Instead, it directed Epic to just file a proposed injunction (without a legal brief), and

             instructed Google to raise “objections.” 4-ER-825. At no point before the injunction

             issued did the District Court require Epic—the party bearing the burden of proof—

             to file a legal brief in support of its proposed injunction.

                   Epic filed a proposed injunction designed to substantially redesign the Google

             Play store globally, and the pricing model that sustains it. The sweeping changes

             that Epic sought included (1) offering the Play store’s entire app catalog to all

             Android app stores, (2) distributing third-party app stores through Play, and

             (3) eliminating the requirement that developers use Google Play Billing. 4-ER-711-

             713; 4-ER-714-716.

                   Google objected, explaining that Epic’s proposed remedies were unsafe, 3-

             ER-666-676, and would impede competition, not improve it, 3-ER-573-664.

             Equally important, Google pointed out that the proposed remedies were totally



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             unsupported by the trial record. Epic’s demand to commoditize app catalogs across

             rival stores contradicted a leading argument Epic advanced at trial, which was that

             the Epic Games Store needed unique content to compete with Play and had struggled

             to obtain such content because of Google’s challenged contracts. 3-ER-582.

                   Google explained, moreover, that the injunction was unnecessary because

             Google had already entered into a settlement agreement (the State Settlement) with

             all 50 States agreeing to make substantial changes to the Play store that were more

             than sufficient to address any anticompetitive conduct found by the jury. State of

             Utah, et al. v. Google LLC, et al., No. 3:21-cv-05227-JD (N.D. Cal.) (“States

             Docket”), Dkt. 522-2 at 19-22. The States maintained that this settlement would

             strike “an appropriate balance between the concerns the States and Consumer

             Counsel raised about Google’s conduct without prohibiting Google from protecting

             the legitimate interests of consumers who use Android devices.” 3-ER-691.

                   Ignoring the State Settlement, the District Court held two hearings. First, it

             heard from Epic’s and Google’s expert economists, and second, it allowed Epic and

             Google to address the technical feasibility and cost of certain aspects of Epic’s

             proposal and to present closing arguments. See 3-ER-434-571; 2-ER-220-373.

                   In addressing feasibility and cost, Google again explained that Epic’s

             proposed injunction would require a dramatic redesign of Play and Android that

             would harm users and developers, compromise trust and safety, and make Google a



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             forced dealer for its competitors. 9-ER-2025; see also generally 9-ER-2023-49. It

             noted that the proposed injunction’s terms were theoretically technologically

             achievable, but would be extremely expensive to implement. 9-ER-2023-49 (under

             seal); 9-ER-2065-66 (under seal); 9-ER-2056-59 (under seal). And it emphasized

             the security risks would be even worse without allowing Google the time necessary

             to build, beta test, fix bugs, and roll out new functionality at the massive scale of

             Play’s many millions of users. 2-ER-421-424; 2-ER-426-429; 2-ER-383-386; 2-

             ER-388-391.

                       On October 7, 2024, the District Court issued a modified version of Epic’s

             proposed injunction. 1-ER-3-6; 1-ER-7-23. Despite no briefing from Epic on the

             four-factor test for injunctive relief, the District Court concluded an injunction was

             warranted, citing “the jury verdict and evidence at trial” as a whole—without further

             detail.     1-ER-4.   The sweeping and intrusive changes in the District Court’s

             injunction are detailed below.

                       Contractual restrictions. Paragraphs 4-6 prohibit Google from sharing Play

             revenue with entities that distribute or intend to distribute Android apps and from

             conditioning “payment, revenue share, or access to any Google product or service”

             on a developer’s agreement to launch an app first or exclusively on Play, or not to

             launch a version with additional features elsewhere. 1-ER-3-4. Paragraph 7 bars

             Google from conditioning “payment, revenue share, or access to any Google product



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             or service” on an OEM’s agreement to preinstall Play in a particular location on a

             device.   1-ER-4.    Paragraph 8, largely replicating a prohibition in the State

             Settlement that Google already agreed to, bars Google from conditioning “payment,

             revenue share, or access to Google products or services” on Play being the sole app

             store preinstalled on a device. Id.

                   Billing changes. Although no Epic app is offered on Play or subject to the

             Play billing policy, the District Court nevertheless ordered Google to change Play’s

             billing policies. Paragraphs 9-10 prohibit Google from requiring use of Google Play

             Billing for app or in-app purchases and from keeping developers from circumventing

             Play’s business model by offering other payment methods or providing external

             links (“linkouts”) for users to “download the app” somewhere else. Id.

                   Forced creation of new services for competitors. Paragraph 11 requires

             Google to share its entire app catalog with its competitors. And Paragraph 12

             requires Google to permit users to download competing app stores through Play,

             despite the District Court’s acknowledgment that distributing competing app stores

             might expose Play users to safety and security issues, illegal goods and services, and

             material violating Google’s content standards (such as those against sexual content,

             hate speech, malware, or fraudulent material). The injunction limits Google to

             “strictly necessary and narrowly tailored” measures to protect users against those

             issues. 1-ER-5.



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                      Technical committee. The injunction creates a three-member “technical

             committee”—with one of the three members representing Epic—for resolving

             disputes about the technology and processes arising from the injunction, thus

             overseeing significant elements of Google’s business and technical operations. The

             technical committee was the District Court’s own creation; Epic had not asked for

             it. 1-ER-5-6.

                      The injunction set two effective dates. Google was required to implement the

             contractual and billing restrictions in less than four weeks, without regard to

             associated security risks, and the remainder of the remedies in eight months—four

             months faster than the fastest time frame Google’s witness said was necessary to

             safely and securely build, test, and roll out this new functionality at scale. 1-ER-4-

             5; 2-ER-386; 2-ER-391. The prohibitions apply for three years from their effective

             date.7

                      Google promptly appealed and requested a stay. The District Court granted

             an administrative stay. 2-ER-181. This Court ordered expedited briefing and

             referred Google’s stay motion to this panel. CA9 Dkt. 18 at 1-2.




             7
              When it issued the injunction, the court resolved Epic’s UCL claim based entirely
             on the jury verdict in Epic’s favor. 1-ER-8-10.

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                                       SUMMARY OF ARGUMENT

                   I. The liability finding rests on a series of independent legal errors that badly

             distorted the resolution of this case. First, the District Court allowed Epic to argue

             that Google and Apple do not compete in app distribution and in-app billing markets,

             even though Epic already fully litigated and lost that issue in its case against Apple.

             Apple I found Google and Apple compete vigorously for app downloads and in-app

             transactions related to mobile gaming, see, e.g., 559 F. Supp. 3d at 987, which this

             Court affirmed over Epic’s objection, Apple II, 67 F.4th at 981. Refusing to treat

             that finding as preclusive was legal error; Epic could not relitigate whether Google

             and Apple compete over the very same transactions, which are a major portion of

             Epic’s asserted markets. Indeed, Epic has never argued it can prevail if Apple is

             included in the relevant markets.

                   Second, even though this Court had already affirmed the legal framework

             applicable to Epic’s claims against Apple’s App Store, the District Court refused to

             apply that framework here. The Android-only markets that Epic asserted are

             “single-brand aftermarkets” as this Court has defined the term, just as the Apple-

             only markets were in Epic’s case against Apple. Id. at 976-977. Epic’s failure to

             meet the standard governing single brand aftermarkets is why its antitrust claims

             failed in Apple, see id. at 980, and Epic no more met that standard here than it did in

             Apple.



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                   Third, the District Court misstated the Rule of Reason framework in two

             important ways, requiring a new trial as to the Section 1 and Section 2 claims

             governed by that framework. It improperly limited the jury’s consideration of the

             procompetitive benefits of Google’s challenged conduct at Step 2 of the Rule of

             Reason, even though the Supreme Court and this Court have repeatedly permitted

             defendants to rely on procompetitive benefits falling outside the relevant product

             markets. And then the District Court wrongly permitted the jury to hold Google

             liable by engaging in a free-for-all balancing exercise, without first concluding that

             Epic had proven that less-restrictive alternatives could achieve Google’s pro-

             competitive rationales.

                   Fourth, the District Court erred by holding a jury trial on Epic’s purely

             equitable claims over Google’s objection. Google simply never consented to a jury

             trial on Epic’s injunctive-relief claims alone. And in any event, consent can be

             withdrawn, and Google expressly moved for a bench trial here. The court’s error

             prejudiced Google throughout the remedial proceedings because the court repeatedly

             invoked the jury’s verdict as a substitute for making particularized findings of fact

             to support the injunction.

                   II. The injunction conflicts with antitrust precedent, Federal Rule of Civil

             Procedure 65(d), and Article III. First, it requires Google to build new infrastructure

             to provide new services to Google’s competitors, contravening a well-established



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             antitrust principle: Businesses generally have no duty to deal with competitors,

             much less design new products to prop up their competitors. See Trinko, 540 U.S.

             at 408, 410. The court likewise erred by failing to find a “significant causal

             connection” between any conduct found to be anticompetitive and remedies that

             extend beyond that conduct. Optronic Techs., Inc. v. Ningbo Sunny Elec. Co., 20

             F.4th 466, 486 (9th Cir. 2021) (quotation marks omitted). The injunction also went

             against controlling precedent by directly regulating the price Google may charge for

             components of app-store distribution based on whatever the District Court may find

             “reasonable”; such “direct price administration” is “beyond [the judicial] function.”

             Image Tech. Servs., Inc. v. Eastman Kodak Co., 125 F.3d 1195, 1225 (9th Cir. 1997).

             Finally, the injunction’s imposition of duties to deal violate Rule 65(d), which

             requires courts to detail the precise acts required or proscribed by an injunction so

             that defendants have fair notice of their compliance obligations. The District Court’s

             attempts to bypass these issues by installing a non-judicial technical committee is

             not just unprecedented; it is an end-run around the duty Rule 65(d) assigns to district

             courts.

                   Second, the District Court further abdicated its basic duties by failing to justify

             and explain the relief it ordered. Rule 65(d) requires stating the basis for an

             injunction so a reviewing court can determine whether a court considered all relevant

             factors, including imposing terms no more burdensome than necessary and



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             accounting for the public interest. Here, the District Court’s injunction exceeds the

             remedies Epic proposed, with no explanation for why this was necessary. The court

             also never explained why it is in the public interest to impose additional remedies

             beyond those agreed to by the attorneys general of all fifty States, the District of

             Columbia, and two territories. And the court failed to grapple with the substantial

             security risks that linkouts, catalog access, and app-store distribution pose for

             millions of non-party consumers. Finally, the court disregarded the impact of

             catalog access on Play’s over half-million developers’ intellectual property interests.

                   Third, the District Court violated Article III by ordering injunctive provisions

             Epic had no standing to seek. The injunction’s catalog sharing and app-store-

             distribution provisions indisputably rely on the independent behavior of third-party

             developers, consumers, and OEMs. But Epic offered no “factual evidence” showing

             that these parties would likely respond to the injunction in predictable ways. Murthy

             v. Missouri, 144 S. Ct. 1972, 1986 (2024). Epic also lacked standing to seek changes

             to Play’s billing and anti-steering policies because Epic, which has no apps available

             on Play, faces no risk of imminent injury from those policies. See, e.g., O’Shea v.

             Littleton, 414 U.S. 488, 496 (1974).




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                                                ARGUMENT

             I.    The Liability Verdict Should Be Reversed.

                   A.     Epic v. Apple Established That Apple And Google Compete, And
                          Issue Preclusion Prevented Epic From Relitigating That Finding.

                   Epic prevailed in this case only by gerrymandering the markets to exclude

             Google’s “main competitor”: Apple.        Apple II, 67 F.4th at 985.       Epic tried,

             unsuccessfully, to employ this same tactic in its parallel suit against Apple. The

             Apple I district court rejected Epic’s gambit and found that Google and Apple

             compete for app downloads and in-app transactions related to mobile gaming. This

             Court affirmed. That should have settled the matter: At least as to mobile gaming

             transactions, Apple and Google compete for app downloads and in-app transactions.

             But the District Court allowed Epic to try this case as though Epic had not already

             lost that issue. Issue preclusion should have prevented exactly that sort of litigation

             do-over, and this error is fatal to Epic’s case because Epic has not shown (and cannot

             show) that Google has sufficient market power in any market including Apple.

                   This Court reviews de novo the District Court’s view that preclusion was not

             available here. Far Out Prods., Inc. v. Oskar, 247 F.3d 986, 993 (9th Cir. 2001).

                          1.     The Apple Court’s Finding That Google And Apple Compete
                                 Was Preclusive.

                   Issue preclusion “bars parties from relitigating an issue if the same issue was

             adjudicated in prior litigation.” SEC v. Stein, 906 F.3d 823, 828 (9th Cir. 2018).



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             Once an issue has been fully litigated and decided on the merits, and the party against

             whom preclusion is asserted had a full and fair opportunity to litigate, there is no

             redo. Snoqualmie Indian Tribe v. Washington, 8 F.4th 853, 864 (9th Cir. 2021).

                   Preclusion doctrine “relieves parties of the cost and vexation of multiple

             lawsuits, prevents inconsistent decisions, encourages reliance on adjudication by

             minimizing the possibility of inconsistent decisions, and conserves judicial

             resources.” 18 Moore’s Federal Practice – Civil § 132.01[3]. It also promotes

             fairness by preventing “a plaintiff from relitigating identical issues by merely

             switching adversaries.” Parklane Hosiery Co. v. Shore, 439 U.S. 322, 329 (1979)

             (quotation marks omitted).

                   The only disputed element of preclusion here is whether the “same issue”—

             competition between Google and Apple within the asserted markets—was raised in

             both Apple and this case. See 4-ER-876-877; 4-ER-795-796; Stay Opp. 20-23. It

             was. The Apple court held that Google and Apple compete in the same product

             market for “mobile gaming transactions”—which includes both app downloads and

             in-app purchases related to gaming apps. See, e.g., 559 F. Supp. 3d at 976-978, 985-

             987. The court recognized that both the App Store and Play are “built on gaming

             transactions and a narrow subset of high spending gaming consumers and game

             developers.” Id. at 954 n.243; see also id. at 953 (finding that games accounted for

             81% of all Apple app store billings and 80% of Google Play transaction revenues).



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             But here, Epic’s proposed markets asserted that Google and Apple do not compete

             for those same transactions. See 5-ER-999 (“[Games] … constitute at least 80

             percent of Google Play transaction revenues”); 6-ER-1270 (same); Microsoft Stay

             Amicus Br. 13 (emphasizing the importance of gaming transactions in mobile device

             market). Instead, Epic claimed that Google and Apple are not within the same area

             of effective competition for any Android app download or in-app transaction.

                   The four factors this Court has used to analyze whether an issue is the same

             for preclusion purposes all point decisively in Google’s favor. Those factors are:

             (1) whether “there [was] a substantial overlap between the evidence or argument”;

             (2) whether the parties could “reasonably … expect[]” that “pretrial preparation and

             discovery” in the first action would “embrace[]” the contested matter; (3) whether

             “the same rule of law” applies; and (4) whether the claims in both proceedings are

             “closely related.” Howard v. City of Coos Bay, 871 F.3d 1032, 1041 (9th Cir. 2017)

             (citing Restatement (Second) of Judgments § 27 cmt. c (1982)). These factors are

             not applied “mechanistically.” Id.

                   The latter two factors are straightforward. These “closely related” lawsuits

             were filed on the same day asserting the same federal causes of action under Sections

             1 and 2 of the Sherman Act. Howard, 871 F.3d at 1032; compare Apple I Docket,

             Dkt. 1, Counts 1, 3, 4, 5, 6, with Epic Games, Inc. v. Google LLC, et al., No. 3:20-

             cv-05671-JD (N.D. Cal.) (“Epic Docket”), Dkt. 1, Counts 1, 2, 4, 5, 6. Thus, the



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             factual question of Google and Apple’s competition arose in the same legal context

             in both cases.

                   The first two factors point equally strongly in Google’s favor. As for Epic’s

             arguments and evidence, Epic’s proposed markets in Apple were a mirror image of

             its proposed markets here. According to Epic, Apple should have been treated as “a

             monopoly of one” because it dominates its “own system of distributing apps” and

             “collecting payments and commissions of purchases made on Apple’s own devices

             in the App Store.” Apple I, 559 F. Supp. 3d at 921. Here, Epic made precisely the

             same argument—that Play dominates Android app distribution and does not compete

             with Apple. 5-ER-972-973. In fact, the complaint used the very same language to

             describe the proposed markets in both cases, merely swapping out “Apple” and

             “iOS” for “Google” and “Android” where appropriate. Compare, e.g., Apple I

             Docket, Dkt. 1, Count 1 (“Sherman Act § 2 (Unlawful Monopoly Maintenance in

             the iOS App Distribution Market”)), with Epic Docket, Dkt. 1, Count 1 (“Sherman

             Act § 2 (Unlawful Monopoly Maintenance in the Android App Distribution

             Market”)).

                   Thus, the pivotal issue in Apple—as here—was whether Google and Apple

             were within the same “area of effective competition.” Ohio v. Am. Express Co., 585

             U.S. 529, 543 (2018). Given that it was pursuing the two cases in tandem, Epic

             accordingly had every incentive in Apple I to seek discovery from both companies



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             related to competition between Google and Apple and to vigorously argue that the

             two companies do not compete. For instance, Epic contended that Apple does not

             compete with Google because “distribution of an app on an Android device … is not

             an economic substitute” for app distribution on the App store. Apple I Docket, Dkt.

             760 at 4073:13-15. Epic repeatedly stressed that consumers who choose an Android

             device cannot use the App Store and consumers who choose an Apple device cannot

             use the Play store. Apple I Docket, Dkt. 777-3 at 72 ¶ 144, 93-95 ¶¶ 175-177, 131-

             132 ¶¶ 225-228.

                   So too here. Epic contended that “Apple is not in the relevant market,” 6-ER-

             1475, because “[c]onsumers can’t substitute from the Google Play Store to the Apple

             App Store unless they buy a new phone.” 6-ER-1474. Echoing Apple, Google

             countered that “the relevant market is not limited to Android, but also includes

             Apple’s iOS and other platforms” because Apple and Android devices are

             interchangeable for developers and users. 4-ER-829.

                   Both courts heard similar evidence regarding whether Apple and Google

             compete in the relevant markets. In Apple I, the court repeatedly discussed evidence

             of Google and Apple’s competition for mobile gaming transactions. See, e.g., 559

             F. Supp. 3d at 955 n.250, 959, 965 n.298, 975 & n.356, 976-978, 985 & n.416, 997

             n.484. For example, the court found that Apple and Google launched their respective

             app stores in the same year, id. at 976, and have since competed on a number of



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             dimensions including “quality of app review,” id. at 1005, “approach to privacy and

             customer data security,” id. at 955 n.250, and their “highly differentiated ecosystems

             around their respective operating systems,” id. at 965 n.298. Epic and Apple also

             put on extensive evidence about how prone consumers are to switch between device

             brands. Id. at 957-958.

                   The trial record here is replete with comparable evidence, including that

             Google and Apple compete on “the quality of the apps,” 6-ER-1482-85; see also 6-

             ER-1323-24; 7-ER-1595; 7-ER-1607; 5-ER-1013-19; 7-ER-1637-38; that “Android

             compete[s] with Apple’s iOS operating system on security and privacy features,” 5-

             ER-1138; see also 5-ER-1121-22; 5-ER-1140; 5-ER-1154-55; 5-ER-1136; 5-ER-

             1144; 5-ER-1085-88; and that Google specifically designed its “open source”

             ecosystem to compete with and differentiate itself from Apple’s “walled garden”

             approach in the market, 5-ER-1155; 5-ER-1020; 5-ER-1063; 5-ER-1123. Further,

             both Google and Epic put on substantial evidence as to “switching rates” to develop

             the record on the relative interchangeability of Apple and Android devices. See, e.g.,

             5-ER-1111-13; 7-ER-1504-06; 5-ER-1124-27; 6-ER-1320-22. The trial culminated

             with the parties examining an Apple corporate representative on these issues. See

             6-ER-1350-89.

                   In short, Epic sought to relitigate whether Google and Apple compete for the

             same transactions, under the same legal framework, during the same time frame.



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             The Apple I court already resolved that issue against Epic after a full trial on the

             merits. That holding was integral to the Apple I court’s conclusion that Epic failed

             to prove its Sherman Act claims against Apple. See e.g., 559 F. Supp. 3d at 1030-

             33, 1036-37; Apple II, 67 F.4th at 981. Epic did not come to trial in this case writing

             on a blank slate. The Apple I finding should have been preclusive against Epic here.

                          2.     The District Court Wrongly Permitted Epic To Avoid
                                 Preclusion.

                   The District Court allowed the jury in this case to adopt market definitions

             that contradicted the settled findings in Apple I and II. Its explanation was that Epic

             “offered wholly different evidence about relevant markets than that offered in the

             case against Apple.” 1-ER-30. The District Court could not and did not cite any

             evidence in support of that conclusion, which is belied by the record. The District

             Court also suggested that preclusion does not apply where a party’s earlier loss on

             an issue is attributable to a lack of evidence. Id. This is also incorrect. It is hornbook

             civil procedure law that a preclusive “determination may be based on a failure of …

             proof.” Restatement (Second) of Judgments § 27 cmt. d.

                   Epic asserted below that the issues are not the same because “the proper

             antitrust market” in Apple I was meant to “evaluate the effects of Apple’s conduct,”

             whereas the issue here was “the proper antitrust market in which to evaluate the

             effects of Google’s conduct.” 4-ER-876. This puts the cart before the horse. Before

             undertaking the Rule of Reason analysis, the first step “is to accurately define the


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             relevant market.” FTC v. Qualcomm Inc., 969 F.3d 974, 992 (9th Cir. 2020). Only

             thereafter may the court assess issues regarding “the defendant’s ability to lessen or

             destroy competition.” Id. (alteration omitted). And even if Epic’s logic made sense,

             Epic conceded in Apple I that the Google Play store “engages in conduct that is very

             similar” to the Apple App Store “in restricting app distribution and in-app

             payments.” Apple I Docket, Dkt. 760 at 4173:7-12 (emphasis added).

                   Before this Court, Epic appears to admit that the mobile-gaming market found

             in Apple “overlaps” with the markets it asserted here. See Stay Opp. 22. That

             admission makes sense: Epic cannot dispute that app-gaming transactions are a

             critical part of the markets that Epic—a gaming app developer—asserted against

             Google. Supra pp. 32-33. Epic cites no case refuting the commonsense principle

             that preclusion prohibits a party from seeking market definitions that conflict with

             those determined in a prior case brought by the same party. See, e.g., Intell. Ventures

             I LLC v. Cap. One Fin. Corp., 937 F.3d 1359, 1380 (Fed. Cir. 2019).

                   The District Court’s refusal to apply issue preclusion here is particularly

             perverse given the stark consequences of the “inconsistent results” in this case and

             Apple. Clements v. Airport Auth. of Washoe Cnty., 69 F.3d 321, 330 (9th Cir. 1995).

             Apple’s iOS operating system is a “walled-garden,” 5-ER-1155, while Google’s

             open-source platform is “available for free to anyone who wants to distribute it and

             use it,” 5-ER-1060. But if the contradictory treatment of Google and Apple stands,



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             Apple will be free to continue its walled garden approach while Google has been

             ordered to cease practices that are central to its ability to compete with Apple on key

             concerns like security and convenience. Compounding the problem, Google will be

             required to affirmatively assist other competitors at the same time. Supra p. 25.

                   The jury should not have been invited to decide anew whether Google and

             Apple compete for mobile gaming transactions. Each of Epic’s antitrust claims

             relied on being granted a do-over as to whether Google and Apple compete. 1-ER-

             53-54; 1-ER-56; 6-ER-1446; 6-ER-1448. To this day, Epic has never argued that it

             could prevail if it is stuck with the ruling that Apple is Google’s “main competitor”

             in the relevant markets. And that’s for good reason, since unrebutted trial testimony

             showed that Google’s market share by app revenue against just Apple is under 40%

             in the United States, and just barely over 40% globally. 6-ER-1290-91.

                   Failure to prove a proposed market definition is fatal to Epic’s case. See

             Coronavirus Reporter v. Apple, Inc., 85 F.4th 948, 955-956 (9th Cir. 2023);

             Qualcomm, 969 F.3d at 992. Without the market definition, after all, “there is no

             way to measure” Google’s “ability to lessen or destroy competition.” Am. Express,

             585 U.S. at 543 (quotation marks omitted). Epic’s failure to offer evidence that it

             can succeed in a market with Apple means Google is entitled to judgment as a matter

             of law. See In re Marshall, 600 F.3d 1037, 1064 (9th Cir. 2010) (granting judgment

             as a matter of law where “[a]ll of the elements of issue preclusion have been met”),



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             aff’d sub nom. Stern v. Marshall, 564 U.S. 462 (2011). At minimum, this Court

             should order a new trial where Epic is precluded from disputing that Google and

             Apple compete in digital mobile-gaming transactions.

                   B.     The District Court Erred By Refusing To Instruct The Jury On
                          The Legal Requirements For A Single-Brand Aftermarket.

                   Even if Epic were not precluded from relitigating the market definitions based

             on Apple, the District Court erred by failing to instruct the jury on critical aspects of

             Epic’s burden of proving the markets it asserted. In doing so, the court departed

             from longstanding precedent of this Court—including Apple itself. This error is an

             independent reason to reverse the liability verdict, and this Court reviews de novo

             whether the district court misstated the applicable law when instructing the jury.

             Peralta v. Dillard, 744 F.3d 1076, 1082 (9th Cir. 2014) (en banc).

                   This Court has recognized that an “aftermarket” exists “[w]here demand for a

             good is entirely dependent on the purchase of a durable good” in a “foremarket.”

             Apple II, 67 F.4th at 976.       A classic example involves service contracts for

             photocopier machines. See Eastman Kodak Co. v. Image Tech. Servs., Inc., 504 U.S.

             451 (1992). Photocopiers constitute the “foremarket,” and service contracts are a

             “derivative aftermarket[].” See id. at 455, 459.

                   Sometimes a party argues that an aftermarket comprising “one brand of a

             product” is an antitrust market unto itself. Apple II, 67 F.4th at 976 (quotation marks

             omitted). In such cases, this Court has recognized an “economic presumption that …


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             consumers make a knowing choice to restrict their aftermarket options when they

             decide” which durable good to purchase. Newcal Indus., Inc. v. Ikon Office Sol’n,

             513 F.3d 1038, 1050 (9th Cir. 2008). In other words, where consumers know that

             their choice of a durable good will restrict their options in an aftermarket, there is a

             presumption a firm will know that consumers are choosing a total package and that

             it must compete to present the best total package available. See Apple II, 67 F.4th at

             977. That presumption supports pro-consumer interbrand “foremarket” competition

             like that between Google’s Android and Apple’s iOS.

                   This Court has recognized four elements that a plaintiff must satisfy to dispel

             that economic presumption and prove that a single-brand aftermarket constitutes a

             relevant antitrust market. Id. First, and most importantly, a plaintiff must show that

             “the challenged aftermarket restrictions are ‘not generally known’ when consumers

             make their foremarket purchase.” Id. This element “flow[s] directly” from the

             Supreme Court’s explanation that aftermarket restrictions are dangerous when used

             “to exploit unsophisticated consumers.” Id.8 The plaintiff must also show that

             “significant information costs prevent” consumers from assessing the overall “life-

             cycle” cost of the durable good in light of the aftermarket restrictions, that switching


             8
               Other circuits have similarly emphasized the importance of such a showing in an
             aftermarket case. See, e.g., PSI Repair Servs., Inc. v. Honeywell, Inc., 104 F.3d 811,
             820 (6th Cir. 1997); SMS Sys. Maint. Servs., Inc. v. Digital Equip. Corp., 188 F.3d
             11, 19 (1st Cir. 1999); Avaya Inc., RP v. Telecom Labs, Inc., 838 F.3d 354, 405 (3d
             Cir. 2016); Alcatel USA, Inc. v. DGI Techs., Inc., 166 F.3d 772, 783 (5th Cir. 1999).

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             between the relevant durable goods involves “significant monetary or non-

             monetary” costs, and that no other general “principles regarding cross-elasticity”

             “undermine the proposed single-brand market.” Id. (quotation marks omitted).

                   Failure to prove any one of these “prerequisites” is fatal to proving a single-

             brand aftermarket. Coronavirus Reporter, 85 F.4th at 956. Apple illustrates these

             principles well. Epic’s argument there was that “iOS app distribution” and “iOS in-

             app payment solutions” were “single-brand markets.” Apple II, 67 F.4th at 970.

             Because these aftermarkets were limited to devices running iOS, this Court’s single-

             brand aftermarket rules applied.     See id. at 976-977.     And Epic offered “no

             evidence … demonstrating that consumers are unaware that the App Store is the sole

             means of digital distribution on the iOS platform.” Id. at 980 (quotation marks

             omitted). Thus, Epic’s Apple-only markets failed and the Court did not “need [to]

             reach … the other factual grounds on which the district court rejected Epic’s single-

             brand markets.” Id.

                   In this case, Epic’s market definition arguments paralleled those in Apple.

             Instead of arguing for iOS-only app distribution and in-app payment markets, Epic

             argued for Android-only app distribution and in-app payment markets. Supra p. 34.

             Thus, as in Apple, Epic argued for product markets where “demand for [the relevant]

             good[s] is entirely dependent on the prior purchase of a durable good in a

             foremarket”—namely, devices running Android. 67 F.4th at 976.



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                   The District Court here refused to instruct the jury on these elements of Epic’s

             burden, despite Google’s repeated requests. See 4-ER-835-836; 1-ER-140-141; 1-

             ER-61-62. The court’s explanation during the charge conference was that Epic did

             not use the words “foremarket” and “aftermarket” in presenting its arguments to the

             jury. See 1-ER-142; 1-ER-62. But a “party is entitled to an instruction … if it is

             supported by law and has some foundation in the evidence.” Jenkins v. Union Pac.

             R.R. Co., 22 F.3d 206, 210 (9th Cir. 1994). Here, Epic’s proposed markets fall

             within the legal definition of a “single-brand aftermarket” under this Court’s

             precedents. Apple II, 67 F.4th at 976-977. It makes no difference that Epic carefully

             avoided using those words at trial. It is a district court’s job in the instructions to

             provide the jury the legal labels that apply to concepts they have heard at trial. Any

             other rule would encourage creative lawyers to bypass legal rules by simply avoiding

             magic words. This Court has squarely rejected such “formalistic distinctions.” Id.

             at 978; see also Apple I, 559 F. Supp. 3d at 955 (applying the foremarket/aftermarket

             framework even though “Epic Games did not explicitly use the terms … in its

             complaint”).

                   In this case, there was undisputed evidence that Epic’s proposed markets

             triggered this Court’s single-brand aftermarket test. Epic’s leading economic expert

             at trial testified that demand for apps flows entirely from the purchase of a device,

             and thus that choosing a smartphone means “choosing the set of apps that are



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             available on that platform.” 6-ER-1256. Thus, demand for Android app distribution

             (and thus, in-app transactions) depends entirely on the purchase of an Android

             device. In Apple, Epic’s briefing recognized that this is the very definition of a

             foremarket-aftermarket dynamic. Apple I Docket, Dkt. 777-3 at 68 ¶ 139 (“[a]

             ‘foremarket’ is a market where there is competition for a long-lasting product and

             from which demand for a second product is derived”). Epic cannot seriously deny

             that the same legal test applies here, even if it attempted to avoid that result—to

             borrow the District Court’s words—“because they didn’t like the outcome in Epic.”

             1-ER-142.

                   When denying Google’s post-trial motion, the District Court tried to shore up

             its reasoning. It first asserted that “Android is a mobile operating system; it is not a

             brand.” 1-ER-31. But this Court treated “iOS” as a brand, and iOS is also an

             “operating system.” See Apple II, 67 F.4th at 970, 976-977. This confirms that a

             brand of operating system is a brand in the relevant sense. See, e.g., 7-ER-1546-48

             (slides on “Android Brand Health”); 5-ER-1007. The District Court also noted

             certain factual differences between Android and iOS, noting that “Android devices

             are manufactured by many companies” and that “the Apple App Store is the only

             app store for iOS devices.” 1-ER-31-32. But those distinctions do not matter to this

             Court’s definition of an “aftermarket,” which asks only whether “demand for a good

             is entirely dependent on the prior purchase of a durable good in a foremarket.” Apple



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             II, 67 F.4th at 976. If anything, these factual distinctions support Google. After all,

             it makes no sense that Epic should face an easier burden in proving an antitrust case

             against Google precisely because there is more competition on Android. That

             Google faces competition from other manufacturers and app stores only makes it

             more likely that the competition in the device foremarket disciplines the competition

             in the app aftermarkets.

                   The prejudice to Google from the District Court’s error is substantial. Failure

             to satisfy the consumer-knowledge element of this Court’s aftermarket test is the

             very reason that Epic’s single-brand markets in Apple failed. 67 F.4th at 976-981.

             Epic had no better evidence in this case on that element than it did there—despite

             having every opportunity and incentive to present evidence on this issue, as the court

             did not resolve this instructional dispute until just before closing arguments. See 1-

             ER-141-143. There is no reason to give Epic another opportunity to make the

             necessary showing. Google should be granted judgment as a matter of law. See

             Boyle v. United Techs. Corp., 487 U.S. 500, 513 (1988) (“If the evidence presented

             in the first trial would not suffice, as a matter of law, to support a jury verdict under

             the properly formulated [instruction], judgment could properly be entered … at once,

             without a new trial.”). At minimum, a new trial is required in which Epic must meet

             its burden under this Court’s precedents.




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                     C.    The District Court Improperly Instructed the Jury On The Rule of
                           Reason Framework.

                     The District Court directed the jury to apply the Rule of Reason in evaluating

             Epic’s Sherman Act Section 1 and 2 claims. Under that burden-shifting framework,

             the plaintiff at Step 1 bears the initial burden of showing that the defendant’s conduct

             “produces significant anticompetitive effects within a relevant market.” O’Bannon

             v. NCAA, 802 F.3d 1049, 1070 (9th Cir. 2015) (quoting Tanaka v. Univ. of S. Cal.,

             252 F.3d 1059, 1063 (9th Cir. 2001)). If the plaintiff meets that burden, the

             defendant at Step 2 then bears the burden to show that its conduct has legitimate

             procompetitive rationales and effects. Id. Finally, the plaintiff at Step 3 must show

             that any “legitimate objectives can be achieved in a substantially less restrictive

             manner.” Id.

                     The District Court’s instructions misstated both Steps 2 and 3 of the legal

             framework. This Court reviews de novo whether a jury instruction properly states

             the elements that must be proved at trial. Chuman v. Wright, 76 F.3d 292, 294 (9th

             Cir. 1996). If there is an error, this Court “presume[s] that the error was prejudicial[,]

             and the non-moving party bears the burden of establishing that it is more probable

             than not that a properly instructed jury would have reached the same verdict.” Frost

             v. BNSF Ry. Co., 914 F.3d 1189, 1194 (9th Cir. 2019) (quotation marks omitted). If

             the non-moving party fails to meet that burden, then a new trial is warranted. Id. at

             1199.


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                          1.    The Court Improperly Blocked The Jury From Considering
                                Procompetitive Benefits In Related Product Markets.

                   At Step 2 of the Rule of Reason, the District Court improperly limited the

             jury’s consideration of the procompetitive benefits of the challenged conduct to the

             “relevant market[s],” 6-ER-1435; 6-ER-1439-40—which it defined as the product

             markets the jury found at the outset of the verdict form, 6-ER-1435. Google objected

             to this formulation twice, explaining it would wrongly limit the jury’s consideration

             of procompetitive effects outside of, but related to, the relevant product markets. 4-

             ER-837-838; 1-ER-102-103. The court rejected Google’s arguments. 4-ER-831; 1-

             ER-103.

                   The court’s instruction limiting the jury’s consideration of cross-market

             justifications was legal error. For decades, the Supreme Court has “considered

             cross-market rationales in Rule of Reason and monopolization cases.” Apple II, 67

             F.4th at 989 (collecting cases); see, e.g., NCAA v. Bd. of Regents of Univ. of Okla.,

             468 U.S. 85, 104-108, 115-117 (1984) (considering procompetitive effects in market

             for college football tickets when relevant market was college football television);

             Leegin Creative Leather Prods., Inc. v. PSKS, Inc., 551 U.S. 877, 889-892 (2007)

             (recognizing that interbrand competition may offset anticompetitive effects in

             intrabrand market).

                   This Court has followed suit. In O’Bannon v. NCAA, this Court considered

             the allegedly anticompetitive effect of the NCAA’s compensation rules. There, this


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             Court defined the relevant market as the “college education market.” 802 F.3d at

             1070. But in conducting Step 2, it nonetheless considered the fact that preserving

             the “amateur nature of collegiate sports increases [the NCAA’s] appeal to

             consumers.” Id. at 1073. As a result, this Court concluded that the “NCAA’s

             compensation rules serve … procompetitive purposes.” Id. When conduct “truly

             serve[s] procompetitive purposes, courts should not hesitate to uphold” that conduct.

             Id. at 1079; see In re NCAA Athletic Grant-in-Aid Cap Antitrust Litig., 958 F.3d

             1239, 1258 (9th Cir. 2020) (applying O’Bannon and affirming the consideration of

             procompetitive conduct in related markets at Step 2 of the Rule of Reason analysis),

             aff’d sub nom. Alston, 594 U.S. 69; see also Mozart Co. v. Mercedes-Benz of N. Am.,

             Inc., 833 F.2d 1342, 1348-51 (9th Cir. 1987) (restraints in automobile parts market

             justified by “quality control” in the overall automobile market).

                   These holdings are well grounded in the text of Congress’s antitrust regime.

             Unlike the Clayton Act, which explicitly prohibits consideration of procompetitive

             conduct in related markets, the Sherman Act contains no such restriction. See

             Clayton Act § 7, 15 U.S.C. § 18 (barring anticompetitive mergers “in any line of

             commerce”); United States v. Philadelphia Nat’l Bank, 374 U.S. 321, 370 (1963)

             (holding that the Clayton Act’s text bars consideration of procompetitive effects in

             another line of commerce as justification for merger).




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                   Indeed, the driving principle behind the Rule of Reason analysis is to

             determine the competitive effects of the restraint. See Bd. of Trade of the City of

             Chi. v. United States, 246 U.S. 231, 238 (1918). Courts should consider “all of the

             circumstances” of that restraint. Leegin, 551 U.S. at 885. Under the District Court’s

             approach, important effects are barred from consideration simply because they fall

             outside of the defined market, not because they are irrelevant to “the essential

             inquiry” of “whether or not the challenged restraint enhances competition.” Bd. of

             Regents, 468 U.S. at 104.

                   In denying Google’s request for an instruction, the court cited this Court’s

             decision in Qualcomm. 1-ER-103. But, as Google explained, Qualcomm involved

             the plaintiff’s burden at Step 1 of the Rule of Reason to prove harm to competition,

             which the District Court had erroneously allowed the FTC to satisfy by identifying

             harms outside of the relevant antitrust markets. 969 F.3d at 998. Qualcomm said

             nothing about a defendant’s ability at Step 2 to identify procompetitive justifications.

             See id. at 996 (declining to consider “procompetitive justifications”).

                   This distinction matters. “[T]he primary purpose of the antitrust laws is to

             protect interbrand competition.” State Oil Co. v. Khan, 522 U.S. 3, 15 (1997)

             (emphasis added). Thus, anticompetitive effects on a market limited to a single

             brand may be justified when the challenged conduct stimulates competition between

             brands. See supra pp. 47-48. Prohibiting a factfinder from considering cross-market



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             justifications for anticompetitive effects is inconsistent with that fundamental

             principle.

                   Ruling on Google’s post-trial motion, the District Court abandoned its

             reliance on Qualcomm, instead citing this Court’s decision in Apple II. 1-ER-34.

             This reasoning is even more confounding. In Apple II, this Court “decline[d] to

             decide this issue” because Epic had forfeited it. 67 F.4th at 989. Thus, Apple II adds

             nothing to the precedent from the Supreme Court and this Court considering

             procompetitive justifications in related markets. See supra pp. 47-48.

                   In its stay opposition, Epic did not defend the District Court’s reasoning. Stay

             Opp. 10. Instead, Epic picked out two instructions that did not place “limitation[s]”

             on when the jury could consider procompetitive conduct and suggested they

             remedied any error. Id. at 11. But this Court does not assume that jurors read

             between the lines of inconsistent instructions to divine the material legal rule and

             then apply it. United States v. Lewis, 67 F.3d 225, 234 (9th Cir. 1995) (“[W]here

             two instructions conflict, a reviewing court cannot presume that the jury followed

             the correct one.”).   Google repeatedly asked the District Court to clarify its

             instructions regarding whether and when the jury could consider procompetitive

             conduct in the Rule of Reason analysis. Each time, the court denied its requests.

                   There is ample evidence that the erroneous instructions were, in fact,

             prejudicial. Google’s primary defense at trial focused on how the Play store helps



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             Google stay competitive in the markets for operating systems and smartphones, and

             many of Google’s procompetitive justifications explained why its agreements were

             essential to help Google compete with Apple in those markets. 6-ER-1480; 6-ER-

             1486-93; supra pp. 17-22. Epic argued strenuously that the jury could disregard

             Google’s efforts to compete with Apple and that Apple’s App Store fell outside of

             the Android in-app distribution and Android in-app billing markets. See, e.g., 5-ER-

             971; 6-ER-1246-49; 6-ER-1475; 6-ER-1477. The instructions’ failure to explain the

             relevance of cross-market justifications left the jury with the mistaken belief that if

             it found relevant markets limited to Android, it did not have to consider Google’s

             efforts to compete with Apple. See Hunter v. County of Sacramento, 652 F.3d 1225,

             1235-36 (9th Cir. 2011).

                   Epic and the District Court have emphasized that, despite the erroneous

             instruction on this point, Google still argued that its procompetitive conduct in

             related markets justified any anticompetitive conduct in the relevant market. 4-ER-

             803; Stay Opp. 11. But that is exactly the point. Google’s case was built in

             significant part around demonstrating that Google was competing with Apple, and

             the jury was told not to consider this crucial argument if it found that Apple was

             outside the relevant market. That was a highly prejudicial error. See Jenkins, 22

             F.3d at 210 (a court should give an instruction when it has “some foundation in the

             evidence”). A new trial, under the correct legal framework, is warranted.



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                          2.     The Court Improperly Permitted The Jury To Engage In A
                                 Free-For-All Balancing.

                   At Step 3 of the Rule of Reason, the District Court improperly instructed the

             jury to balance the competitive harms and benefits, without requiring Epic to “prove

             the existence of a substantially less restrictive alternative to achieve Google’s pro-

             competitive rationale.”     6-ER-1435-36.      Google acknowledges that Apple II

             forecloses this argument before a panel of this Court, see 67 F.4th at 993-994, but

             preserves its position that Apple II’s ruling on this issue is wrong. See id. at 994

             (noting this Court was itself “skeptical of the wisdom” of its precedent on this issue).

             Granting Epic a free pass on advancing viable less-restrictive alternatives

             contravened Supreme Court precedent requiring courts to apply all three steps of the

             Rule of Reason analysis. See Alston, 594 U.S. at 98, 101, 106; Am. Express, 585

             U.S. at 541-542.

                   D.     The District Court Erred By Holding A Jury Trial On Purely
                          Equitable Claims.

                   Epic was not entitled to a jury trial on its antitrust claims—an issue this Court

             reviews de novo. SEC v. Jensen, 835 F.3d 1100, 1106 (9th Cir. 2016). The Seventh

             Amendment does not apply to parties, like Epic, who seek purely equitable relief.

             Standard Oil Co. of Cal. v. Arizona, 738 F.2d 1021, 1026 (9th Cir. 1984).9 Instead,


             9
              California law requires UCL claims to be tried by a court rather than a jury.
             Nationwide Biweekly Admin., Inc. v. Superior Ct. of Alameda Cnty., 462 P.3d 461,
             473 (Cal. 2020).

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             “judges, not juries, determine equitable claims, such as requests for injunctions.”

             Teva Pharms. USA, Inc. v. Sandoz, Inc., 574 U.S. 318, 326 (2015). That is how

             Epic’s standalone claims against Apple were tried, and it is how Epic’s standalone

             claims against Google should have been tried as well.

                   Epic sought purely equitable relief from day one. See Epic Docket, Dkt. 1 at

             59; Epic Docket, Dkt. 156 at 80; Epic Docket, Dkt. 341 at 36. Nothing in Epic’s

             claims granted Epic a right to a jury trial. Standard Oil, 738 F.2d at 1025. Epic has

             never disputed as much, see 4-ER-840-848, and never expressed any concern about

             its parallel claims in Apple being tried to the bench.

                   The Judicial Panel on Multidistrict Litigation consolidated Epic’s injunctive-

             relief claims with claims by other parties for damages, and the District Court

             subsequently ordered that a single trial would take place for all claims in the MDL.

             See 4-ER-953-956; see also 4-ER-925-926 (consumers); 4-ER-923 (developers); 4-

             ER-898 (discussing consolidated trial plan). The other parties seeking damages were

             entitled to a jury, and in cases involving both legal and equitable claims “the

             Supreme Court has cautioned against ‘trying part to a judge and part to a jury.’ ”

             Jensen, 835 F.3d at 1111-12 (quoting Beacon Theatres, Inc. v. Westover, 359 U.S.

             500, 508 (1959)). Those other parties’ claims also had to be tried before or alongside

             Epic’s claims, because it is generally error to adjudicate equitable claims prior to

             damages claims. See Beacon Theatres, 359 U.S. at 506-508.



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                    Over the months leading up to trial, however, all the parties seeking damages

             against Google settled, leaving only Epic’s injunctive-relief claims. Immediately

             after the last of those parties settled, Google requested a bench trial on what had

             become Epic’s standalone injunctive-relief claims—consistent with Google’s

             position three weeks before trial that if Match settled its damages claims, Epic’s

             antitrust claims would be tried in a bench trial. 4-ER-849-856; see also 4-ER-862-

             863.

                    The District Court nevertheless refused to hold a bench trial. Its reason for

             this refusal was a single sentence from a joint filing offering a proposal for trial “if

             it includes Epic, the [developer] Plaintiffs, the States, and the individual consumer

             plaintiffs,” see 4-ER-902 (emphasis added), a conditional statement that the District

             Court somehow concluded amounted to “consent” to a jury trial on Epic’s claims

             alone. The court also pointed to one sentence in an opposition to a bifurcation

             motion—also filed when Epic’s case was consolidated with other parties entitled to

             a jury trial. 4-ER-894.

                    The District Court committed legal error by concluding that this constituted

             consent to hold a jury trial against Epic alone. Courts cannot presume a party’s

             consent to a jury trial based on consent given in related proceedings. See Dunmore

             v. United States, 358 F.3d 1107, 1116-17 (9th Cir. 2004). Dunmore is instructive.

             There, a plaintiff demanded a jury trial in a tax proceeding in district court, and then



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             stipulated to have his case transferred to a bankruptcy court, which had authority to

             conduct a jury trial upon both parties’ consent. Id. at 1109, 1116; see also 28 U.S.C.

             § 157(e). The plaintiff refused to consent to a jury trial in bankruptcy, but the court

             held one anyway. Dunmore, 358 F.3d at 1116-17. This Court reversed, explaining

             that the plaintiff “never consented to a jury trial in the bankruptcy forum,” and the

             bankruptcy court could not presume his consent from the jury demand in district

             court. Id.

                   Here, as in Dunmore, Google agreed to a jury trial in one context—when the

             case was proceeding to trial with multiple parties with a right to a jury trial. In that

             circumstance, a jury trial is required to proceed first under Beacon Theatres. 359

             U.S. at 506. That does not mean Google consented to a standalone jury trial in a

             case brought by one party seeking only equitable relief. The District Court erred in

             holding otherwise. See id.10

                   Even assuming Google somehow consented to a jury trial on Epic’s

             standalone injunctive-relief claims, Google plainly withdrew that consent prior to

             trial—and the court should have honored that withdrawal. Other Circuits have

             recognized that consent may be withdrawn even “days before trial” where the

             opposing party is not constitutionally entitled to a jury. FN Herstal SA v. Clyde


             10
                Epic was not entitled to a jury trial based on Google’s breach-of-contract
             counterclaim. As the District Court correctly concluded, the only disputed aspect of
             that claim, Epic’s illegality defense, had to be tried to the bench. 6-ER-1340-41.

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             Armory Inc., 838 F.3d 1071, 1089-90 (11th Cir. 2016); accord Kramer v. Banc of

             Am. Sec., LLC, 355 F.3d 961, 968 (7th Cir. 2004). These cases recognize that the

             timing of the withdrawal, standing alone, does not prejudice the opposing party such

             that a jury trial must proceed.

                   In FN Herstal, the Eleventh Circuit concluded that a party failed to show

             prejudice by invoking the timing of the withdrawal request or by contending that the

             relevant legal issues “involve[d] a number of considerations for which a jury would

             seem better suited than a judge.” 838 F.3d at 1089-90. A party likewise failed to

             show prejudice in Kramer where the only objection to the withdrawal of consent to

             a jury trial was that it occurred too late in the proceedings. 335 F.3d at 968; see

             Kramer v. Banc of Am. Sec., LLC, No. 1:99-cv-6768 (N.D. Ill.), Dkt. 48 at 2

             (prejudice argument in briefing).

                   As in those cases, Epic made no showing of prejudice from having a judge

             serve as the factfinder. 4-ER-841; 1-ER-50. In fact, neither the District Court nor

             Epic ever articulated any prejudice Epic faced that would not be inherent in any

             switch from a jury to a bench trial. See 4-ER-841 (Epic arguing that prejudice

             existed because the parties prepared witnesses, opening statements, and voir dire);

             1-ER-150 (court stating that request was prejudicial because it was filed “too late”).

                   It is particularly unclear why a bench trial would have been prejudicial when

             Epic framed its complaint specifically to exclude a damages claim that would have



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             triggered a jury right. Epic did not identify a single change it would have to make

             to its presentation of evidence or any additional work that would be required.

             Indeed, it already had experience with a bench trial from its parallel claims in Apple

             I. If anything, preparing for a bench trial requires less work than preparing for a jury

             trial. See Patrick E. Higginbotham, Continuing the Dialogue: Civil Juries and the

             Allocation of Judicial Power, 56 Tex. L. Rev. 47, 54 (1977). A bench trial also

             eliminates disputes that can arise over jury instructions, allows more leeway for

             evidentiary rulings by the court, and results in a fuller explanation of a decision.

                   By contrast, the District Court’s error in pressing ahead with a jury trial was

             deeply prejudicial to Google. Because the jury’s verdict lacked specific findings of

             fact, including (for example) on exactly what anticompetitive effects the jury found

             or how the jury applied the Rule of Reason framework, the court simply assumed

             that the jury resolved every factual dispute presented at trial in Epic’s favor. This

             had an enormous impact on the remedies the court selected.                   The court

             acknowledged as much, stating that “[t]he facts and evidence behind the jury’s

             verdict are now carved in stone”—and then using the jury’s verdict to justify the

             remedies ordered, without the benefit of factfinding or legal conclusions that would

             have justified those remedies (or not). 3-ER-437; see also 2-ER-343. But absent

             specific findings of fact defining the contours of Google’s liability, the District Court




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             lacked specific findings to guide the appropriate scope of relief—which, as Section

             II explains in greater detail, became a pervasive problem at the remedies stage.

                   E.     The UCL Verdict Must Be Vacated Because It Is Based On The
                          Flawed Jury Verdict.

                   The District Court described the UCL claim as “an independent state-law

             basis for [the] injunction.” 1-ER-12. But the court’s UCL analysis derives entirely

             from the jury’s verdict and is not independent of it. The opinion says Google’s

             conduct was “unlawful” and “unfair” under the UCL because the jury found that

             Google violated the antitrust laws. 1-ER-9-10. If this Court reverses or vacates the

             antitrust verdict, it must do the same for the UCL claim.

             II.   The Injunction Should Be Vacated.

                   A.     The Catalog-Access and App-Store-Distribution Remedies Should
                          Be Struck From The Injunction.

                   Requiring Google to bring to market entirely new products specifically for its

             competitors defies Supreme Court antitrust precedent on duties to deal with

             competitors. Were this Court to permit the flawed liability finding to stand, it should

             strike these remedies from the injunction. Although this Court generally reviews an

             injunction for abuse of discretion, it considers de novo whether an injunction

             “relie[s] on an erroneous legal premise”—as this one does. Klein v. City of San

             Clemente, 584 F.3d 1196, 1200 (9th Cir. 2009) (quotation marks omitted).




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                          1.     The District Court Exceeded Its Authority By Requiring
                                 Google To Create And Offer New Services For Its
                                 Competitors.

                   The Supreme Court has sharply limited the role of antitrust law in requiring

             companies to deal directly with competitors.         Businesses can “establish[] an

             infrastructure that renders them uniquely suited to serve their customers,” and forced

             sharing of that infrastructure “is in some tension with the underlying purpose of

             antitrust law, since it may lessen the incentive for the monopolist, the rival, or both

             to invest in those economically beneficial facilities.” Trinko, 540 U.S. at 407-408.

                   The primary flaw in forced sharing, as Trinko explains, is that it “requires

             antitrust courts to act as central planners, identifying the proper price, quantity, and

             other terms of dealing—a role for which they are ill suited.” Id. at 408. Courts

             should not require companies to create and offer “something brand new” that is “not

             otherwise marketed or available to the public” as part of a duty to deal. Id. at 410.

             The limited situations justifying forced-sharing remedies are circumstances where

             “the defendant was already in the business of providing a service to certain

             customers … and refused to provide the same service to certain other customers.”

             Id. That narrow circumstance is a necessary—but far from sufficient—basis for

             imposing a duty to deal under antitrust law. See id.

                   It should therefore come as no surprise that neither Epic nor anyone else in

             this case has cited a single antitrust case in which a party was ordered to develop a



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             new product for its rivals. Not one. Extending duties to deal in this way would be

             inadministrable, because “[n]o court should impose a duty to deal that it cannot

             explain or adequately and reasonably supervise.” Id. at 415 (quotation marks

             omitted). Instead “[t]he problem should be deemed irremedia[ble] by antitrust law

             when compulsory access requires the court to assume the day-to-day controls

             characteristic of a regulatory agency.” Id. (quotation marks omitted and emphasis

             added). The Court has repeatedly “emphasized the importance” of policing these

             “clear rules in antitrust law.” Pac. Bell Tel. Co. v. linkLine Commc’ns Inc., 555 U.S.

             438, 452-453 (2009).

                   This Court and others have taken the cue, recognizing that duties to deal are

             forbidden when they would require a court to act as a central planner responsible for

             product design. That is because federal courts are “ill-equipped to assume this role.”

             Aerotec Int’l v. Honeywell Int’l, 836 F.3d 1171, 1183 (9th Cir. 2016). The D.C.

             Circuit has likewise held that “it is not a proper task for the Court to undertake to

             redesign products.” Massachusetts v. Microsoft, 373 F.3d 1199, 1208 (D.C. Cir.

             2004) (quotation marks omitted) (Microsoft II). And the Tenth Circuit, in an opinion

             authored by then-Judge Gorsuch, condemned remedies requiring courts “to pick and

             choose the applicable terms and conditions” of dealing or compel courts “to become

             ‘central planners.’ ” Novell, Inc. v. Microsoft Corp., 731 F.3d 1064, 1073 (10th Cir.

             2013) (quoting Trinko, 540 U.S. at 407-408).



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                   The District Court committed legal error by ordering Google to design new

             products and services tailor-made for its competitors. Providing competitors access

             to the catalog of apps approved by Google for the Play store would require Google

             to create entirely new infrastructure to serve as the backend administrator for any

             number of third-party app stores, including developing and writing code to make

             millions of apps in Play’s catalog appear to be available in those other stores (when

             in reality they are designed for, approved by, and available through Play), refreshing

             and regularly updating the metadata for these millions of apps as developers make

             changes (which is a common occurrence), and creating a technical capacity for Play

             to install and update apps via third-party storefronts. 2-ER-377-383.11

                   The app-store-distribution remedy would likewise require significant changes

             to Play. “The Play store as it exists today is designed to distribute apps, not app

             stores.” 2-ER-386. To distribute third-party stores, Google would have to create

             new functionality allowing developers to list an app store, develop new terms of

             service for app stores, redesign the user interface, and put protocols, systems, and

             processes in place to assess the safety, security, and content of every app that is

             available through that third-party store. 2-ER-386-387; 1-ER-18-19 (recognizing



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               Below, Epic suggested catalog sharing was “similar” to a promotional program
             Google had offered called “Alley Oop.” See 4-ER-770-771 & n.45. Google
             explained that Epic’s expert had “a misunderstanding of the Alley Oop product,”
             and the District Court made no contrary finding. 3-ER-623-624.

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             that making third-party app stores available through Play introduces “security and

             technical risks” and that Google would have to create new protocols to “achieve

             safety and security”). Implementing this remedy carries a hefty price tag. 9-ER-

             2056-59 (under seal).

                   The problems with these forced-dealing remedies unsurprisingly track the

             precise concerns that led the Supreme Court to caution against imposing duties to

             deal. Both involve hundreds—if not thousands—of design choices, requiring the

             court to “oversee product design,” contra Microsoft II, 373 F.3d at 1208, and

             entailing the creation of new infrastructure offered under entirely new terms of

             service to competitors, contra Novell, 731 F.3d at 1073. They would also require

             Google to work closely with its rivals, giving companies more insight into one

             another’s operations and raising the specter of “the supreme evil of antitrust:

             collusion.” Trinko, 540 U.S. at 408. The District Court’s attempted solution—the

             misguided delegation of all these issues to a “Technical Committee”—only confirms

             the need for a court to ultimately engage in central planning to implement these

             remedies. 1-ER-5-6; see infra pp. 69-74.

                   To get around the legal barrier to these remedies, the District Court had to cast

             Trinko and its reasoning aside as irrelevant to antitrust remedies. See 1-ER-19-20

             (holding “Google’s frequent mentions of Trinko are misplaced” “in the remedy

             phase”). That approach is flatly wrong. Trinko and subsequent cases are clear that



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             the very reason duties to deal are generally off limits is precisely because they create

             extensive problems at the remedial stage. Thus, the Supreme Court has twice

             explained that refusals to deal are generally “irremedia[ble].” linkLine, 555 U.S. at

             453 (quoting Trinko, 540 U.S. at 415). And it has expressly cautioned that “[s]imilar

             considerations” govern in both the liability and remedy phases of an antitrust case.

             Alston, 594 U.S. at 102. Anything else would create an end-run around Trinko’s

             “clear rule[],” linkLine, 555 U.S. at 452—enmeshing federal courts in the

             supervision of product design and terms of dealing between competitors.

                   To be sure, some cases have ordered a defendant to sell or license an existing

             product. The defendant in Optronic, for example, was required to sell existing

             products to a competitor on the same terms as other market participants. Optronic,

             20 F.4th at 486. But that did not entail creating or offering bespoke new products or

             services for competitors, much less a technical committee to oversee hundreds or

             thousands of related design choices and disputes. The same is true of cases involving

             compulsory licensing of patents that a defendant has previously abused to restrain

             trade. Kodak, 125 F.3d at 1226 (citing United States v. Glaxo Grp. Ltd., 410 U.S.

             52, 62 (1997)). This Court has recognized that this distinction matters, holding that

             a court should not undertake to “delineate the defendant’s sharing obligations” by

             ordering duties to deal when “the defendant does not already provide the product in




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             an existing market or otherwise make it available to the public.” MetroNet Servs.

             Corp. v. Qwest Corp., 383 F.3d 1124, 1133 (9th Cir. 2004).

                   There is, in short, no precedent for compelling Google to create and offer new

             services specifically for its competitors.     This Court should thus modify the

             injunction to omit the duty to deal remedies based on the District Court’s

             “application of erroneous legal principles,” or remand for the District Court to do so.

             Kodak, 125 F.3d at 1224.

                          2.     The District Court Violated Optronic By Imposing Duty-To-
                                 Deal Remedies Without Finding A Causal Connection To
                                 The Anticompetitive Conduct.

                   The District Court committed a separate legal error in imposing the duty-to-

             deal remedies. The court thought it could impose duty-to-deal remedies if they

             would address “network effects” associated with Play—by which it meant that

             having more developers leads to more users “and vice versa”—without any analysis

             of whether the anticompetitive conduct caused those network effects. 1-ER-16.

             That is wrong. To impose an injunction that extends beyond restraining the specific

             conduct found to be anticompetitive, a court must make a finding, grounded in the

             record, of “a significant causal connection between the conduct enjoined or

             mandated and the violation found.” Optronic, 20 F.4th at 486 (quoting United States

             v. Microsoft Corp., 253 F.3d 34, 105 (D.C. Cir. 2001) (en banc) (Microsoft I)). This

             permits courts to “eliminat[e] the consequences of the illegal conduct,” id. (emphasis



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             added and quotation marks omitted), without denying the defendant the legitimate

             “returns from its innovation and investment,” Microsoft II, 373 F.3d at 1219

             (quotation marks omitted). It similarly ensures that courts do not deprive a defendant

             of legitimately earned competitive advantages, which would run afoul of “the

             underlying purpose of antitrust law” by “lessen[ing] the incentive for the

             monopolist … to invest.” Trinko, 540 U.S. at 407.

                   This causation requirement is particularly important in a monopoly

             maintenance case, the theory Epic pursued here. See Epic Docket, Dkt. 1, Counts 1,

             4.12 In such cases, a company has legitimately acquired monopoly power, and harm

             resulting from the mere existence of a monopoly “cannot be taken as a given.” David

             McGowan, Innovation, Uncertainty, and Stability in Antitrust Law, 16 Berk. Tech.

             L.J. 729, 792 (2001); see also Microsoft II, 373 F.3d at 1226 (“If the court is not to

             risk harming consumers, then the remedy must address the … barrier to entry in a

             manner traceable to our decision [on the merits].” (emphasis added)). The court

             must instead determine whether and how the company’s competitive advantage—

             here, network effects—would have existed even without the anticompetitive

             conduct.



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               Although the jury was instructed that it could find Google unlawfully acquired or
             maintained a monopoly, Epic’s arguments were directed to a monopoly maintenance
             theory, see, e.g., 5-ER-965; 4-ER-783, and the District Court plainly treated this as
             a monopoly maintenance case during the remedies phase, 1-ER-17.

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                   The District Court did not even attempt to undertake that causation inquiry.

             It invoked the jury verdict as a blank check to eliminate “network effects” from

             playing a role in Play’s continued success. But the court made no findings of fact

             that any specific conduct was both (a) anticompetitive and (b) contributed in a

             meaningful way to “network effects.” See 1-ER-17-20.

                   The District Court discounted Google’s argument about the need for causation

             findings by calling causation not “the salient question.”        1-ER-17.    That is

             irreconcilable with Optronic. The District Court recognized that Google “may

             legitimately claim some early mover advantage,” yet it failed to analyze whether its

             chosen remedy improperly targeted that lawful advantage and Google’s extensive

             investments and numerous innovations that have contributed to significant

             improvements in product quality, security, and safety. Id.

                   The only record evidence the District Court cited actually reveals the deep

             problems with its approach. The court pointed to an internal Google presentation

             from 2017 that described Play as “benefit[ing] from network effects” and Amazon’s

             app store as “struggl[ing] to break those network effects” and lacking “critical

             mass.” 1-ER-16. But if Google already enjoyed network effects in 2017, which is

             just after the start of the relevant time period in this case, then it was even more

             critical for the court to analyze whether network effects were causally linked to any

             conduct found to be anticompetitive. See 6-ER-1264 (Epic’s expert acknowledging



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             that “evidence that Google has a significant market share … doesn’t tell you whether

             or not that market share was gained through anticompetitive or competitive means”);

             6-ER-1279-80 (undisputed evidence Google had a significant scale advantage “way

             back in 2011”). And the trial record makes clear the independent reasons why

             Amazon’s app store struggled.          5-ER-1221-22; 5-ER-1217-18; 6-ER-1241

             (describing Amazon’s failure to make investments that would enable it to compete

             with   Play);   7-ER-1642-43;     7-ER-1657-58;     5-ER-1223-27;      5-ER-1217-18

             (describing quality issues with Amazon’s app store).

                    Nor is the District Court’s citation to the jury verdict a substitute for the

             required causation analysis. 1-ER-17. The jury was never asked to—and did not—

             make any findings linking anticompetitive conduct to network effects. And the jury

             was properly permitted to “consider only Google’s conduct that occurred after

             August 13, 2016,” which means the jury was not allowed to consider the period

             when Google was building network effects. 6-ER-1454.

                    The jury instructions, moreover, did not ask the jury to decide if any network

             effects were due to anticompetitive conduct. Instead, those instructions left open the

             types of anticompetitive effects that might serve as a predicate for liability, which

             included things like “increased prices” or “reduced quality” that are unrelated to

             network effects. 6-ER-1433 (Section 2); see 6-ER-1441 (Section 1). This Court has

             recognized that a court sitting in equity may not assume that a jury made findings



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             that “[do] not necessarily” flow from the verdict, but must make its own independent

             findings. U.S. Wholesale Outlet & Distrib., Inc. v. Innovation Ventures, LLC, 89

             F.4th 1126, 1145 (9th Cir. 2023). The District Court erred by failing to do so.

             Because the District Court failed to analyze causation, the duty-to-deal remedies

             should be vacated.

                          3.      The District Court Erred By Engaging In Direct Price
                                  Regulation.

                   Except in narrow circumstances, “direct price administration” is “beyond” the

             judicial “function.” Kodak, 125 F.3d at 1225. The District Court ran afoul of this

             legal rule by directly regulating the price Google may charge for security services

             related to Google’s distribution of their app stores. Implementing that remedy while

             preserving Google’s reputation for safety and security is enormously expensive,

             because it requires Google to analyze on an ongoing basis whether every app in a

             third-party store raises privacy or security risks for users or violates Google’s content

             policies. Those investments, in turn, will provide a valuable service to the Play

             store’s users, developers, and the participating third-party app stores. As it did in

             Kodak, this Court should strike the provision imposing a cost-based “reasonable”

             price for this service and permit Google to charge a market price on a non-

             discriminatory basis. 125 F.3d at 1226.

                   The District Court provided no reasoning to support its price control

             provision. See 1-ER-18-19. That alone is a sufficient basis to vacate it. See infra


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             pp. 74-75 (discussing court’s obligation to explain the basis for an injunction and

             support it with adequate factfinding). Nor is there any basis for imposing such a

             price control. There is, for instance, no established history of Google abusing the

             pricing of this service to restrain trade; Google has never offered this service before.

             Cf. Glaxo, 410 U.S. at 59 (requiring “reasonable-royalty licensing” “where patents

             have provided the leverage for or have contributed to the antitrust violation

             adjudicated”). In fact, the District Court acknowledged that Google’s refusal to deal

             with its rivals in the past was not anticompetitive. See supra p. 17. And the District

             Court provided no guidance for how to measure what pricing would be “reasonable”

             in the context of a product that is “not commercially available.” DOJ Stay Amicus

             Br. 13. This Court should strike the price-control provision from the injunction.

                          4.     The District Court Erred By Failing To Provide Specific
                                 Guidance Regarding The Duty-To-Deal Remedies.

                   Rule 65 requires that an injunction “state its terms specifically” and “describe

             in reasonable detail … the act or acts restrained or required.” Fed. R. Civ. P.

             65(d)(1). “Challenges to an injunction pursuant to [R]ule 65(d) are reviewed de

             novo.” United States v. Holtzman, 762 F.2d 720, 726 (9th Cir. 1985).

                   Rule 65’s specificity requirements are not “mere technical requirements”;

             they are “designed to prevent uncertainty and confusion on the part of those faced

             with injunctive orders.” Del Webb Communities, Inc. v. Partington, 652 F.3d 1145,

             1150 (9th Cir. 2011) (quoting Schmidt v. Lessard, 414 U.S. 473, 476 (1974)). To


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             that end, an injunction must be sufficiently clear to afford defendants “fair and

             precisely drawn notice of what the injunction actually prohibits.” Union Pac. R.R.

             Co. v. Mower, 219 F.3d 1069, 1077 (9th Cir. 2000) (quotation marks omitted)

             (similar). The District Court’s injunction’s description of the duty-to-deal remedies

             falls short of Rule 65’s specificity requirements, requiring vacatur. See, e.g., Del

             Webb Communities, 652 F.3d at 1150 (vacating provisions of injunction that were

             “too vague to be enforceable”).

                   As Google predicted in its proffer and throughout the second remedial

             hearing, the duty-to-deal remedies leave open many, many questions about how to

             comply with the injunction. 3-ER-626-627; 2-ER-229-231. On catalog access, the

             text of the injunction is silent on crucial questions, such as what metadata associated

             with an app Google must make available, how often to refresh that data, and what

             eligibility criteria Google can use to determine if an entity requesting catalog access

             is indeed a legitimate app store. See 2-ER-378; 2-ER-381-382.

                   The app-store-distribution remedy is likewise impermissibly vague.             It

             provides no real guidance on the eligibility criteria Google can set for app stores

             distributed through Play, nor does it define what constitutes an app store under the

             injunction, which could include a variety of app distributors that might attempt to

             avail themselves of the remedy without providing any of the services, clear policies,

             and security standards that users expect from reputable app stores. 2-ER-387.



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             Rather, the injunction cryptically requires Google’s “technical and content

             requirements and determinations” to be “strictly necessary and narrowly tailored”—

             a standard never discussed, divined, or traced back to industry practice or standards

             of care. To the extent this language intends to invoke the standard for strict scrutiny

             applied to constitutional challenges, it will entail extensive second-guessing of every

             measure Google adopts to help ensure user safety. See, e.g., Gonzales v. O Centro

             Espirita Beneficente Uniao do Vegetal, 546 U.S. 418, 430-432 (2006) (requiring

             detailed, case-by-case examination of government interest asserted); cf. Alston, 594

             U.S. at 106 (noting “markets are often more effective than the heavy hand of judicial

             power when it comes to enhancing consumer welfare”).

                   Google suggested a path for avoiding these ambiguities, proposing that the

             court permit the parties to review the injunction’s wording and identify problems

             before the injunction issued. 3-ER-571. The District Court refused even that modest

             step and advised Google to “take it up on appeal.” Id.

                   Even Epic seems to admit that resolving these questions would require

             repeated, ongoing judicial intervention.       Stay Opp. 12 (maintaining that it is

             “commonplace” for an injunction to leave “unclear how [it] applies in a few

             particular respects”). But the level of judicial involvement this injunction requires

             would transform the District Court into a central planner, contrary to law. See Allied

             Orthopedic Applicants Inc. v. Tyco Health Care Grp. LP, 592 F.3d 991, 1000 (9th



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             Cir. 2010). Notwithstanding its efforts to punt to a non-Article-III “technical

             committee” both technical and business model questions, the court will have to

             weigh the benefits of different product designs for distributing third-party app stores

             and resolve disputes about the price and terms of dealing for catalog access—the

             very sorts of tasks for which courts “are ill suited,” demonstrating both that the

             injunction is impermissibly vague and that the District Court never should have

             imposed the duty-to-deal remedies in the first place. Trinko, 540 U.S. at 407-408;

             see linkLine, 55 U.S. at 452-453; Novell, 731 F.3d at 1073; Allied Orthopedic, 592

             F.3d at 1000.

                   The District Court’s creation of the technical committee to resolve disputes,

             subject to review by the court, only highlights that the injunction’s text is too vague

             for Google to follow without extensive and ongoing input from the District Court.

             Indeed, it shows that even the District Court was unsure how to resolve in advance

             the many questions the injunction raises, yet again illustrating why the District Court

             should not have issued an injunction that requires it to act as a central planner.

                   The District Court did not identify, and Google has not found, any case

             allowing a district court to circumvent Rule 65(d)’s specificity requirements by

             passing the buck to a technical committee to take a first stab at resolving the flood

             of open questions raised by an injunction—many of which are not even technical in

             nature—on an ad hoc basis.        This is not surprising.     Appointing a technical



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             committee does nothing to advance “the strong policy of clarity behind rule 65(d),”

             Holtzman, 762 F.2d at 726-727; it tasks a committee, rather than a court, with taking

             the first steps toward filling in the injunction’s many holes. See 2-ER-326 (District

             Court stating that the injunction would lay out only “practical principles”).

                   To Google’s knowledge, no U.S. court has ever imposed a technical

             committee by judicial fiat. Cf. United States v. Microsoft, No. 1:98-cv-01232-CKK

             (D.D.C.), Dkt. 746 at 9-13 (creating technical committee through consent decree).

             Nor has any court—let alone a court administering an antitrust remedy—assigned a

             single, self-interested competitor a one-third vote in resolving product-design

             disputes potentially affecting over a hundred million non-parties and impacting the

             safety and security of a rival’s product. See id.; FTC v. Enforma Natural Prods.,

             Inc., 362 F.3d 1204, 1213 (9th Cir. 2004); cf. Fed. R. Civ. P. 53(a)(2) (court-

             appointed special masters “must not have a relationship to the parties, attorneys,

             action, or court that would require disqualification of a judge”). The appointment of

             the technical committee violates not just Rule 65, but basic principles of Article III

             adjudication, which provides that neutral courts—and not competitors—should

             make important decisions affecting whole industries.

                   The District Court also failed to identify any practical reason to defer to a

             “technical committee” the many non-technical questions that this injunction leaves

             open, including what eligibility criteria Google may adopt for participation in the



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             catalog-sharing program or whether a particular developer’s method of distributing

             their apps or apps of others qualifies as an app store that Play must distribute. These

             questions are not really technical issues at all, but policy judgments about the scope

             of the injunction’s obligations. The District Court’s refusal to resolve these issues

             before issuing an injunction was an abdication of its responsibility to clearly define

             Google’s obligations in advance.

                   B.     The District Court Failed To Make Findings Sufficient To Support
                          Its Injunction.

                   To issue an injunction, a court must make factual findings that are “[]logical,

             []plausible,” and supported by “inferences that may be drawn from the facts in the

             record.” Columbia Pictures Indus., Inc. v. Fung, 710 F.3d 1020, 1030 (9th Cir.

             2013) (quotation marks omitted); Yowell v. Abbey, 532 F. App’x 708, 710 (9th Cir.

             2013); see Fed. R. Civ. P. 65(d)(1). Where an injunction follows a jury verdict, the

             court must make “its own factual determinations” regarding disputed issues the jury

             did not resolve. McCarthy v. Fuller, 810 F.3d 456, 460-461 (7th Cir. 2015); accord

             U.S. Wholesale, 89 F.4th at 1145; Burton v. Armontrout, 975 F.2d 543, 544-545 (8th

             Cir. 1992). And the court must consider all relevant factors,13 avoid restrictions




             13
               La Quinta Worldwide LLC v. Q.R.T.M., S.A. de C.V., 762 F.3d 867, 879 (9th Cir.
             2014).


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             “more burdensome to the defendant than necessary,”14 and avoid “disserv[ing]” the

             “public interest.”15

                     Failure to comply with these requirements is an abuse of discretion warranting

             vacatur. Columbia Pictures, 710 F.3d at 1030; La Quinta, 762 F.3d at 779. Indeed,

             this Court has routinely vacated injunctions for failure to adequately explain and

             justify the relief ordered. See, e.g., Stormans, Inc. v. Selecky, 586 F.3d 1109, 1141-

             42 (9th Cir. 2009) (vacating injunction for failure to “properly consider” the “public

             interest” and need to narrowly “tailor” remedy to “the specific harm alleged”);

             Yowell, 532 F. App’x at 710 (vacating injunction for insufficient explanation and

             findings unsupported by record). The District Court fell short of those obligations

             by failing to explain why less burdensome restrictions were insufficient, refusing to

             consider the State Settlement, and failing to account for serious security and

             intellectual property concerns affecting millions of non-parties.

                           1.       The District Court Did Not Explain Why Less Burdensome
                                    Contractual Restrictions Would Not Suffice.

                     The District Court’s broadbrush approach to remedies turns on its head the

             Supreme Court’s admonition that “[w]hen it comes to fashioning an antitrust

             remedy,” “caution is key.” Alston, 594 U.S. at 106. The District Court’s failure to


             14
               Los Angeles Haven Hospice, Inc. v. Sebelius, 638 F.3d 644, 664 (9th Cir. 2011)
             (quotation marks omitted).
             15
                  eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391 (2006).

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             even engage with less burdensome alternatives was an abdication of its most

             elementary duties. See, e.g., Yowell, 532 F. App’x at 710.

                   During the remedies phase, Epic’s economic expert proposed that the District

             Court enjoin contract provisions similar to those Epic had challenged at trial. He

             proposed prohibiting Google from: (1) using contractual terms expressly imposing

             conditions on dealing with or acting as a rival—such as agreements with developers

             not to place apps on competing stores, 3-ER-445-446; 2-ER-318; and (2) entering

             into Play revenue-sharing agreements with actual or potential competitors for

             Android app distribution, 3-ER-450; 2-ER-323-324; 4-ER-773. According to Epic,

             those remedies were sufficient to “directly redress the contractual restrictions” the

             jury found to be anticompetitive, as well as any “similar conduct that could be used

             to accomplish the same objective.” 3-ER-447-451.

                   Using Epic’s proposals as a baseline, Google offered two basic modifications

             to ensure that these remedies would not create undue burden or hamstring

             competition. It asked the court to ensure that the first prohibition extended only to

             contractual terms pertaining to Android app distribution rivals so it would not hurt

             Google’s ability to compete with Apple. 2-ER-359-360. It also asked the court to

             limit an injunction to prohibiting catalog-wide conditional agreements with

             developers, which is the type of agreement Epic had challenged at trial. 2-ER-362.

             This would allow Google to negotiate with a developer for first or equal access to



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             individual apps, which in turn would enable developers to receive a more

             competitive deal for distribution of their most popular products. 2-ER-362; 3-ER-

             598-599.

                   The injunction the District Court entered, however, imposes even more

             burdensome restrictions than Epic sought.        For instance, it prohibits certain

             incentives to OEMs regarding Play’s specific placement on Android devices, even

             if the incentive places no condition on whether the OEM deals with Play’s app

             distribution rivals or the OEM itself is an Android app distribution rival. 1-ER-4.

             This provision leaves Google without important tools to ensure that OEMs preinstall

             an easy, safe, and reliable app store for Android users to be able to download apps

             right out of the box—a key feature on which Android and Apple compete. See, e.g.,

             5-ER-1072-73.

                   The prohibition on sharing Play revenue with actual or potential Android app

             distributors in any form, 1-ER-3, again exceeds Epic’s request, which was to limit

             agreements to sharing a percentage of Play revenue, 2-ER-323-324; see also 2-ER-

             323 (Epic explaining that it had no concerns with Google using revenue earned

             through Play to attract developers with a fixed sum, rather than a percentage).

                   The District Court offered no reasoned explanation for enjoining even more

             conduct than Epic proposed, or for rejecting Google’s suggested modifications. To

             the contrary, the order accompanying the injunction shows a profound lack of



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             attention to these crucial issues. For example, the court perplexingly asserted that

             “Google itself agreed” with the remedies at issue—a demonstrably inaccurate

             statement given the record just described. 1-ER-15. The court also characterized

             the provisions as simply enjoining Google “from sharing Play Store revenues with

             current or potential Android app store rivals, and from imposing contractual terms

             that condition benefits on promises intended to guarantee Play Store exclusivity.”

             1-ER-14-15. But the injunction’s actual language goes well beyond that, as even the

             most cursory review of the injunction’s text reveals. 1-ER-3-4.

                   The closest the District Court came to addressing the unwarranted burdens

             created by the injunction was its statement that the contractual prohibitions would

             be in effect for “three years” to “level the playing field for the entry and growth of

             rivals, without burdening Google excessively.”         1-ER-15.     That conclusory

             statement—addressed only to the remedies’ duration—provides no insight into

             whether the court considered the parties’ less restrictive proposals. Nor does it

             explain how the contractual restrictions the court imposed were “no more

             burdensome to the defendant than necessary to provide complete relief to the

             plaintiff[],” Los Angeles Haven Hospice, 638 F.3d at 664, especially when even

             Epic’s position was that less restrictive remedies sufficed. 3-ER-447-451; see also

             Columbia Pictures, 710 F.3d at 1049 (injunctive relief may not be “more

             burdensome than necessary”).



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                          2.     The District Court Impermissibly Refused To Consider the
                                 State Settlement.

                   Google entered into a settlement agreement with all fifty States, the District

             of Columbia, and two territories, which was filed with the District Court before trial.

             See States Docket, Dkt. 522-2 at 18-28 (“State Settlement”); States Docket, Dkt. 443

             at 1. As part of the State Settlement, Google agreed to make extensive changes to

             its business, including (a) not entering or enforcing agreements with OEMs to

             exclusively preload Google Play or secure home screen exclusivity; (b) not entering

             into deals that require developers to launch their app catalogs on Play “at the same

             time or earlier” than other Android app stores, or to offer “the same or better

             features” at an “equal [] or more favorable” price; (c) allowing developers who sell

             in-app digital goods or services to offer users an alternative in-app billing system

             other than Google Play Billing; (d) permitting users to complete transactions on

             alternative billing systems “in an embedded view within [the developer’s] app”; and

             (e) limiting sideloading warnings to a single screen. State Settlement §§ 6.3-6.6,

             6.10-6.11.

                   These provisions are designed to expand developer and consumer choice

             while protecting people’s privacy and safety. 3-ER-691; 3-ER-697-699. And the

             attorneys general of all fifty States represented to the court—in no uncertain terms—

             that the Agreement is “fair, reasonable, and adequate.” 3-ER-689. The Agreement’s

             “combination” of provisions, they explained, will “allow competing app stores


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             access to Android devices and give consumers a reason to use those competing app

             stores.” 3-ER-699. Once that occurs, they concluded, “Google will be forced to

             compete on price, quality, or both, and those changes will redound to the benefit of

             consumers.” Id.

                   Despite the fact that the State Settlement Agreement offered concrete ways of

             remedying the same harms Epic asserted, the District Court categorically refused to

             approve it—or even analyze whether Epic had proven any need for additional relief

             beyond those terms. See, e.g., 2-ER-363 (dismissing Google’s argument referring

             to the State Settlement); see 2-ER-338-339 (declining to engage in discussions with

             Google about the State Settlement’s proposed remedies); 1-ER-7-23 (omitting any

             mention of State Settlement from the order accompanying the injunction). That

             refusal was error for two separate reasons.

                   First, the District Court was required to consider the public interest. eBay,

             547 U.S. at 391. Here, all fifty States entered the Agreement pursuant to their

             authority as parens patriae, 3-ER-685, which allows States to seek relief on behalf

             of their citizens to protect their “physical and economic” well-being, Alfred L. Snapp

             & Son, Inc. v. Puerto Rico, ex rel., Barez, 458 U.S. 592, 607 (1982). And after

             carefully reviewing the Agreement’s extensive provisions, the attorneys general

             determined that the terms were in their citizens’ best interest and “strike[] an

             appropriate balance between the concerns … raised about Google’s conduct” and



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             the need to protect “the legitimate interests of consumers who use Android devices.”

             3-ER-691. Epic’s proposal, in contrast, was designed to benefit Epic, not the public

             interest, and will in fact burden the public interest to benefit Epic

                   Second, the District Court was required to ensure that its injunction was no

             “more burdensome than necessary.” Columbia Pictures, 710 F.3d at 1049. Many

             provisions in the State Settlement were substantially less restrictive than the court’s

             injunction. See, e.g., State Settlement § 6.5.2 (permitting Google to compete for

             launch parity provisions on an app-by-app basis, unlike ¶¶ 5-6 of the injunction),

             § 6.3.1 (permitting Google Play Billing to be offered as a choice alongside

             alternative in-app payment solutions, unlike ¶ 9 of the injunction), § 6.8.2 (expressly

             allowing Google to enforce its content and functionality policies against OEMs who

             preload other Android app stores, unlike ¶ 7 of the injunction). The attorneys general

             nevertheless concluded that the provisions were fully adequate to restore

             competition and create meaningful choices for users and developers, 3-ER-697-699,

             yet the District Court refused to even consider whether Epic had proven those

             remedies were insufficient.

                   In fact, the District Court took the reverse approach, prioritizing the interests

             of a single plaintiff. At a hearing on November 14, 2024, the District Court directed

             the States and Google to analyze whether the terms of the 45-page Settlement

             Agreement were “completely consistent” with its Epic injunction. 2-ER-168; see



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             also 2-ER-171; 2-ER-174. The Minute Order after the hearing stated that the court

             would “not approve a settlement that contradicts or dilutes the conduct remedies

             ordered in Epic.” 2-ER-164.

                    It was an abuse of discretion to completely ignore the State Settlement, which

             was plainly “relevant to the [court’s] exercise of its discretion,” United States v.

             $11,500.00 in U.S. Currency, 710 F.3d 1006, 1011 (9th Cir. 2013)—let alone fail to

             provide any explanation for exceeding its provisions. See Stormans, 586 F.3d at

             1140 (“[T]he district court should give due weight to the serious consideration of the

             public interest in this case that has already been undertaken by the responsible state

             officials”).

                            3.   The District Court Failed To Reckon With The Serious
                                 Security Interests of Non-Parties.

                    The District Court failed to account for the harm its injunction would cause to

             the security interests of millions of non-parties. See Bernhardt v. Los Angeles

             County, 339 F.3d 920, 931-932 (9th Cir. 2003) (“courts of equity should pay

             particular regard for the public consequences in employing the extraordinary remedy

             of an injunction”) (quotation marks omitted)).

                    Google’s experts explained that distribution of third-party app stores, catalog

             access, and linkouts—all required by the injunction—posed particular security

             threats to more than a hundred million U.S. consumers. Requiring Google to

             distribute third-party app stores risks subjecting Play users to stores that distribute


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             “pirated, unsafe, or inappropriate content.” 2-ER-427-429 (collecting examples of

             app stores that meet this description, in addition to “many thousands” of harmful

             apps that are “indistinguishable” from app stores “from a technical perspective”); 9-

             ER-2045. Catalog sharing makes it more difficult for users to distinguish between

             legitimate and illegitimate app stores, since any app store seeking to steal user data

             or peddle pirated content can now offer all of the same apps as a legitimate app store.

             2-ER-429; 9-ER-2035; see 2-ER-355-356. And linkouts expose users to phishing

             scams and malware. 3-ER-649; 3-ER-668; see generally Computer Security Experts

             Stay Amicus Br. These concerns extend to national security as well, as foreign

             adversaries will be able to exploit these aspects of the injunction to target U.S.

             Android users. See 3-ER-607.

                   To minimize these risks, Google offered a number of solutions. For instance,

             it proposed allowing developers additional ways to inform users about alternative

             methods to pay without using linkouts that can take users directly to malware or

             other predatory content. 3-ER-648-649. Google further asked for the ability to

             prophylactically vet third-party app stores before distribution on Play, 9-ER-2045-

             47, and to restrict catalog access to stores that enforced bans against “malware,

             pirated apps, or other illegal content,” 9-ER-2035-36.

                   Left unaddressed, these security risks will imperil over a hundred million

             Android users. 2-ER-183. But the court provided little to no safeguards in the



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             injunction. For instance, the injunction would expressly allow linkouts for app

             downloads. 1-ER-4. It also would require Google to provide catalog access without

             explaining the security measures Google may take to address the concerns it raised

             during the remedial hearings. 1-ER-4-5.

                     The only place the injunction acknowledges these security issues is with

             respect to third-party app distribution. The injunction would allow Google to “take

             reasonable measures to ensure” that third-party app stores distributed through Play

             are “safe,” “do not offer illegal goods or services,” and do not “violate Google’s

             content standards.” 1-ER-5. But the injunction simultaneously limits such measures

             to those that Google can prove are “strictly necessary and narrowly tailored,” id.—

             an ill-defined standard that hamstrings Google’s ability to robustly address the

             innumerable security issues that Google must address every year. See 2-ER-211

             (explaining that this limitation “contravenes th[e] prophylactic purpose of vetting”

             and will lead to a “security policy that is entirely or primarily reactive to only

             demonstrated threats,” which “is no security policy at all”). The court did not offer

             any reason for this limitation. 1-ER-18-19. Nor did its order provide any indication

             that it even considered the security risks of linkouts and catalog access. 1-ER-15-

             23.16


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               The court also ignored the substantial security risks associated with rolling out the
             catalog sharing and third-party app store distribution remedies on a rushed timeline.
             Google’s experts explained that pushing out these changes prematurely—without

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                   In opposing Google’s request for a stay pending appeal, Epic claimed that the

             jury “rejected” Google’s security-based procompetitive justifications. 2-ER-180. In

             fact, the jury was not asked to opine on any of the remedies in the injunction, much

             less whether those remedies pose serious security and piracy risks. Nor did the

             District Court suggest its injunction was justified on that basis. See 1-ER-15-23; 1-

             ER-4-5; United States v. First Nat’l Bank of Circle, 732 F.2d 1444, 1448 (9th Cir.

             1984) (an appellate court can “review [a district court’s] exercise of discretion only

             by evaluating what [it] considered, not what the parties tell us”).

                   Moreover, given that the jury was instructed to balance competitive harms

             against procompetitive benefits, 6-ER-1436, there is no basis to assume the jury

             rejected as illegitimate Google’s arguments concerning the security risks associated

             with downloading content from external websites, 2-ER-180; U.S. Wholesale, 89

             F.4th at 1145 (a court cannot assume the jury found facts not “necessarily” implied

             by the verdict). Moreover, the jury never heard any argument about the security

             risks of catalog access or third-party app store distribution—issues that arose for the

             first time after the jury was dismissed.




             sufficient time to test for safety issues—would exacerbate the inherent security risks.
             See, e.g., 2-ER-240 (real-life example of serious consequences stemming from
             premature software rollout). Google therefore asked for 12 to 16 months to come
             into compliance, 2-ER-386; 2-ER-391, but the court arbitrarily and without
             explanation imposed an 8-month deadline, 1-ER-4-5.

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                          4.     The District Court Failed To Address the Intellectual
                                 Property Interests of Non-Parties.

                   The District Court also disregarded the legal and business ramifications of the

             catalog access provision for the half-million-plus developers who distribute through

             Play. 2-ER-183. As the creators and owners of apps, developers have intellectual

             property rights in their apps’ software and brand features. When a developer

             contracts with Google to distribute its app through Play, it grants Google a

             nonexclusive license to use its intellectual property. See, e.g., 2-ER-399 (granting

             Google license to “display Developer Brand Features … for use solely within

             Google Play”).     That limited license does not permit Google to sublicense

             developers’ content to other parties. 2-ER-397; 2-ER-399 (reserving to developers

             all intellectual property rights in their apps, with limited exceptions expressly

             provided for in the agreement); 2-ER-398-399 (authorizing sublicensing only for

             limited security purposes). But that is what the catalog access provision requires, by

             inherently forcing non-parties to grant Google a de facto right to sub-license their

             intellectual property. But this Court has held that a licensor should “be able to

             monitor the use” of its intellectual property, including by giving the licensor a “role”

             in “negotiat[ing]” who uses its intellectual property, and how they use it. Gardner

             v. Nike, Inc., 279 F.3d 774, 781 (9th Cir. 2002) (copyrights); see Miller v. Glenn

             Miller Prods., Inc., 454 F.3d 975, 993 (9th Cir. 2006) (per curiam) (trademarks).

             Contrary to this precedent, the catalog access provision puts the onus on the


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             developer to investigate and block any use it disapproves—without ever giving

             approval in the first place. See, e.g., 2-ER-257 (providing example of developer that

             publishes children’s content not wanting to be listed next to apps containing

             pornography). Since developers may themselves have sublicensed material from

             other parties, this remedy may effectively force them to violate their own contractual

             agreements. See 9-ER-2032.

                     Google repeatedly raised this problem with the District Court. 3-ER-624-625;

             9-ER-2032-34. But once again, the record provides no indication that the court even

             considered these serious concerns, demonstrating that the court did not give

             meaningful consideration to the public interest. See, e.g., 2-ER-258-261 (discussing

             benefits of an opt-out requirement from an economic standpoint without addressing

             intellectual property concerns).      This error again requires vacatur.       See, e.g.,

             Stormans, 586 F.3d at 1142 (vacating injunction for failure to properly consider

             effects on non-parties); Galvez v. Jaddou, 52 F.4th 821, 837-839 (9th Cir. 2022)

             (vacating provision of injunction where court failed to consider conflict with existing

             law).

                     C.    Epic Failed To Prove That It Has Article III Standing To Seek A
                           Nationwide Injunction.

                     Epic is a single plaintiff. But the injunction does not impact just Epic; it seeks

             to regulate Google’s interactions with over half a million developers, OEMs, mobile

             carriers, and Android app stores—none of whom are parties. To prove Article III


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             standing for such an injunction, Epic had to show a concrete future injury to Epic

             that would be redressable by the relief it seeks. Clapper v. Amnesty Int’l USA, 568

             U.S. 398, 409 (2013). This Court reviews “the existence of Article III standing de

             novo.” California v. Trump, 963 F.3d 926, 935 (9th Cir. 2020).

                   Here, the District Court made no findings concerning Epic’s Article III

             standing before imposing this nationwide injunction. Because Epic cannot show

             Article III redressability with respect to the catalog-access, app-store-distribution, or

             any injury to Epic stemming from Play’s billing and anti-steering policies, those

             provisions should be vacated.

                   Catalog Sharing. When a plaintiff’s standing depends on the decisions of

             third parties, it is not enough to rely on “guesswork as to how [those] independent

             decisionmakers will exercise their judgment.” Clapper, 568 U.S. at 413-414. A

             plaintiff must offer “proof” that such independent actors “will likely react in

             predictable ways.” Murthy, 144 S. Ct. at 1993, 1986 (quotation marks omitted).

                   Epic failed to meet that standard here with respect to whether catalog sharing

             would redress its claimed competitive injuries. It claims that the catalog access

             provision will help other app stores and generally improve competition. See, e.g.,

             4-ER-771; 4-ER-775-776. But that depends on a questionable string of unsupported

             assumptions about third-party behavior: First, that once rival app stores can offer

             all of Play’s apps, they will be more likely to attract users, 4-ER-771; second, that if



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             rival stores then present sufficiently desirable features, like lower prices or a better

             interface, they can start “acquiring” more users, id.; third, that rival stores will then

             be “well-positioned” to “persuade” developers to distribute their apps directly

             through their stores and will have the “opportunity to develop more robust

             preloading and placement relationships with OEMs,” 4-ER-771; 4-ER-775; and

             fourth, that this will ultimately promote competition by mitigating Google’s

             dominance “at least to some degree,” 4-ER-771.

                   Epic failed to prove, with “specific facts,” that third parties (including app

             stores, developers, OEMs, and users) will respond in a predictable way to the

             injunction. See Lujan v. Defs. of Wildlife, 504 U.S. 555, 561-562 (1992). In fact,

             Epic’s leading theory at trial relied on the exact opposite premise: that rival stores

             needed to be able to differentiate themselves by offering unique content unavailable

             on Play to gain a foothold in the market. See, e.g., 6-ER-1252-53; 6-ER-1469; cf.

             Microsoft II, 373 F.3d at 1219 (noting that a remedy giving “rivals the ability to

             clone Microsoft’s software products” would not promote competition). Epic’s

             remedies-phase experts did not provide any evidence to support Epic’s theory of

             how the market would respond to catalog access; they provided only assumptions—

             with no facts, examples, or third-party testimony as support. See, e.g., 4-ER-770-

             771; 4-ER-775-776; 3-ER-461-464; 3-ER-469-470. Epic has not demonstrated




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             Article III redressability under these circumstances. See Murthy, 144 S. Ct. at 1986,

             1994.

                     App Store Distribution.    Epic’s redressability theory for the app-store-

             distribution remedy is equally speculative. Before the injunction issued, Epic never

             said whether it would take advantage of an app-store distribution mandate; it claimed

             this remedy would help Epic indirectly by increasing competition.17 But that

             conclusion is again based on speculation and depends on the actions of other third-

             party app stores, including whether those stores in fact distribute through Play,

             whether distribution through Play in fact allows them to gain users and better

             compete with Google, and whether that competition ultimately benefits Epic.

                     Again, Epic provided only the unsupported assumptions of its economist to

             support this claim, not factual evidence in the record. See 4-ER-771; 4-ER-776-777;

             3-ER-504-506. After all, Google gained users and market share by offering an

             innovative product; Epic has not demonstrated that other app stores will gain market

             share simply because they can be downloaded through Play. See, e.g., 6-ER-1261

             (Epic’s expert agreeing that Play initially acquired users by offering an innovative

             product); 5-ER-1092; 5-ER-1107; 5-ER-1132; 6-ER-1309-12; 6-ER-1314-16



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                After the injunction, Epic said it would distribute its store on Play, but that
             backfilling does not create standing for a remedy requiring Play to distribute other
             app stores. Those stores are not before the Court, and Epic lacks Article III standing
             to seek a remedy for them.

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             (multiple witnesses testifying about Google improving Play to meet users’ evolving

             needs); 6-ER-1275 (users decline to switch to Samsung’s store even though it is also

             preloaded on the home screen of all Samsung devices).

                   The District Court had “an obligation to assure” itself that Epic had Article III

             standing before ordering these remedies. Friends of the Earth, Inc. v. Laidlaw Env’t

             Servs. (TOC), Inc., 528 U.S. 167, 180 (2000). But the court never made any relevant

             findings of fact on the issue, see generally 3-ER-434-572; 2-ER-220-374; 1-ER-7-

             23, and never inquired whether Epic had supported its causal chain of reasoning with

             sufficient evidence, as Murthy expressly requires. See 144 S. Ct. at 1981, 1986-95

             (reversing issuance of injunction on standing grounds for lack of “factual evidence”

             supporting multi-step chain of causation and redressability).

                   Billing and Anti-Steering Policies. Epic plainly lacks standing to seek an

             injunction affecting Play’s billing and anti-steering policies. It faces no ongoing

             injury whatsoever from those policies.

                   Forward-looking relief requires “a real and immediate threat of repeated

             injury.” O’Shea, 414 U.S. at 496; accord Susan B. Anthony List v. Driehaus, 573

             U.S. 149, 158 (2014). This ensures that the plaintiff has “such a personal stake in

             the outcome of the controversy as to warrant his invocation of federal-court

             jurisdiction.” Summers v. Earth Island Inst., 555 U.S. 488, 493 (2009) (quotation

             marks omitted).



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                   Epic has not shown any such personal stake here, because Play’s billing and

             anti-steering policies applied only to apps distributed through Play.            Apps

             distributed through Play had to use Google Play Billing, and developers could not

             lead users to alternative payment options. See, e.g., 5-ER-1008; 6-ER-1272-73.

             Epic failed to prove, however, that it would be harmed by these policies in the future.

                   Epic has not distributed apps on Play for years, and nothing requires Google

             to allow Epic to do so going forward. See, e.g., 5-ER-991. Apps distributed through

             Epic’s store are not subject to Play’s billing or anti-steering policies. And Epic

             offered no evidence that its payment system is for use anywhere other than its own

             store. See, e.g., 5-ER-976. Without “specific facts” showing Epic will be harmed

             by Play’s policies, it lacked standing to challenge them—let alone obtain an

             injunction enjoining them.

                   Epic may lean into Apple II, but that decision does not address payment-

             processing provisions at all. And even as to the analysis of Epic’s standing to

             challenge Apple’s anti-steering policy, Apple II’s reasoning does not survive the

             Supreme Court’s decision in Murthy. 144 S. Ct. at 1986-87, 1995. It is reversible

             error under Murthy to award injunctive relief when a plaintiff offers no factual

             evidence to establish that the necessary causal links in its theory of standing will

             likely occur. See id. at 1993, 1986. Apple II identified no factual evidence indicating

             that developers on iOS were likely to steer users to another app store (much less



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             Epic’s) to re-access the app and make payments. 67 F. 4th at 1000. Likewise, for

             an injunction against anti-steering to benefit Epic here, developers other than Epic

             would need to steer Play users to Epic’s game store to make purchases and also use

             Epic’s billing system rather than another system. Epic proffered no factual evidence

             this would likely occur.

                   Murthy aside, there is also a glaring difference here from Apple II: that case

             involved an explicit finding about Epic’s likely future injury that is absent here. See

             67 F.4th at 1000. Instead, the District Court declined to address Epic’s standing to

             obtain anti-steering (or other payment-related) remedies. 3-ER-434-572; 2-ER-220-

             374; 1-ER-7-23.

                                               CONCLUSION

                   For the foregoing reasons, the liability verdict and permanent injunction

             should be vacated.



             Dated: November 27, 2024                   Respectfully submitted,

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